Filed 12/26/18                                                                          Case 18-15109                                                                               Doc 1
                                                                                                                                                          FILED
                   this information to identify your case:




                                                                                                                                              1
    I    United States Bankruptcy Court for the:
                                                                                                                                                  UNITED STATES BANKRUPTCY COURT
             Eastern District of California                                                                                                        EASTERN DISTRICT OF CA

         Case number (If known):        I       -    f5 I cy'                   Chapter you are filing under:
                                                                                idCliapteri
                                                                                U Chapterli
                                                                                U Chapter 12
                                                                                U Chapter 13                                                          Check if this is an
    •_______________________________________________________________                                                                                  amended filing



        Official Form 101
        Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                            12117

     The bankruptcy forms use you and Debtor I to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
     joint case—and In joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car,"
     the answer would be yes if eIther debtor owns a car. When information is needed about the spouses separately, the form uses Debtor I and
      Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor I and the other as Debtor 2. The
     same person must be Debtor I in all of the forms.
        Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
        information. It more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
        (if known). Answer every question.


                       Identify Yourself

                                                    About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
        i. Your full name
              Write the name that is on your
              government-issued picture
                                                    David
              identification (for example,          First name                                                    First name
              your driver's license or              0.
              passport).                            Middle name                                                   Middle name
               Bring your picture                   Villegas
               identification to your meeting       Last name                                                     Last name
               with the trustee.
                                                    Suffix (Sr., Jr.. U, lii)                                     Suffix (Sr.. Jr., II, UI)




        2. All other names you
               have used in the last 8              First name                                                    First name
               years
               Include your married or              Middle name                                                   Middle name
               maiden names.
                                                    Last name                                                     Last name


                                                    First name                                                    First name

                                                    Middle name                                                   Middle name

                                                    Last name                                                     Last name




        3.     Only the last 4 digits of __
               your Social Security         -                          -             -p--                         )°°( - - - - - -
               number or federal         OR                                                                       OR
               Individual Taxpayer
               identification number 9xx -                             --             -     -      -              9 xx -             --             - -         -
               (ITIN)

        Official Form 101                                        Voluntary Petition for Individuals Filing for Bankruptcy                                       page 1
Filed 12/26/18                                                                  Case 18-15109                                                                                    Doc 1


     Debtorl          David            0.                  Villeqas                                          Casenumber
                      nrst Name   MiddleName                Lest Name




                                               About Debtor 1:                                                     About Debtor 2 (Spouse Only In a Joint Case):                 I
     4.    Any business names
           and Employer                               I have not used any business names or EIN5.                  U      I have not used any business names or ElNs.
           Identification Numbers
           (EIN) you have used In
           the last 8 years                    Business name                                                       Business name

           Include trade names and
           doing business as names             Business name                                                       Business name




                                               EIN                                                                 EIN



                                               EIN                                                                 EIN




     5.    Where    you live                                                                                       If Debtor 2 lives at a different address:


                                               600 Hosking Avenue, Apt. # 49C
                                               Number          Street                                              Number          Street




                                               Bakersfield                               CA 93307
                                               City                                     State     ZIPCode          City                                     State     ZIP Code

                                               Kern
                                               County


                                               If your mailing address is different from the one                   If Debtor 2's mailing address Is different from
                                               above, fill it in here. Note that the court will send               yours, fill It in here. Note that the court will send
                                               any notices to you at this mailing address.                         any notices to this mailing address.


                                                                                                               I
                                               Number           Street                                             Number          Street



                                               P.O. Box                                                            P.O. Box



                                               City                                     State     ZIP Code         City                                     State     ZIP Code




     6.    Why you are choosing                Check one:                                                          Check one:
           this district to file for
           bankruptcy                                 Over the last 180 days before filing this petition,          U      Over the last 180 days before filing this petition,
                                                      I have lived in this district longer than in any                    I have lived In this district longer than in any
                                                      other district.                                                     other district.

                                               U      I have another reason. Explain.                              U      I have another reason. Explain.
                                                      (See 28 U.S.C. § 1408.)                                             (See 28 U.S.C. § 1408.)




          Official Forni 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                           page 2
Filed 12/26/18                                                            Case 18-15109                                                                             Doc 1


     Debtor 1     David             0.                Villepas                                        Case number (if
                  First Name   JFddle Name            Last Name




    •mw Tell the Court About Your Bankruptcy Case


         The chapter of the                  Check one. (For a brief descnption of each, see Notice Required by 11 U.S.C. § 342(b) for lndMduals Filing
         Bankruptcy Code you                 for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
         are choosing to file
                                                 Ch aper 7
         under
                                             U Chapter 11
                                             U Chapter 12
                                             U Chapter 13

         How you will pay the fee            U I will pay the entire fee when I file my petition. Please Check with the derk's office in your
                                                 local court for more details about how you may pay. Typically, if you are paying the fee
                                                 yourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                                 submithrig your payment on your behalf, your attorney may pay with a Credit card or check
                                                 with a pre-pnnted address.

                                             U   I need to pay the fee In Installments. If you choose this option, sign and attach the
                                                 Application for Individuals to Pay The Fl/mg Fee in Installments (Official Form 103A).

                                                 I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                                 By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                                 less than 150% of the official poverty line that applies to your family size and you are unable to
                                                 pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                                 Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


         Have you filed for                      No
         bankruptcy within the
         last 8 years?                       U Yes.    District                              When                       Case number
                                                                                                     MM! DD/YYYY

                                                       District                              When                       Case number
                                                                                                     MMI DD/VYYY

                                                       District                              When                       Case number
                                                                                                     MM! DD/YYYY



         Are any bankruptcy                      No
         cases pending or being
         filed by a spouse who Is            U Yes.    Debtor                                                           Relationship to you
         not filing this case with                     District                              When                       Case number, if known____________________
         you, or by a business                                                                       MM/DD /YYYY
         partner, or by an
         affiliate?
                                                       Debtor                                                           Relationship to you

                                                       District                              When                       Case number, if known____________________
                                                                                                     MMIDD/YYYY



          Do you rent your                   U No. Go to line 12.
          residence?                         0 Yes. Has your landlord obtained an eviction judgment against you?
                                                         I No. Go to line 12.
                                                       U    Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 10 IA) and file it as
                                                            part of this bankruptcy petition.




       Official Form 101                               Voluntary Petition for Individuals FIling for Bankruptcy                                    page 3
Filed 12/26/18                                                                      Case 18-15109                                                                 Doc 1


     Debtor 1       David                  0.                Villegas                                         Case number(fftnonm)_______________________
                   First Name        Paddle Name             Last Name




                 Report About Any Businesses You Own as a Sole Proprietor


     12. Are you a sole proprietor                     No. Go to Part 4.
         of any full- or part-time
         business?                                 U Yes. Name and location of business
         A sole proprietorship is a
         business you operate as an
         individual, and is not a
                                                            Name of business, if any
         separate legal entity such as
         a corporation, partnership, or
         LLC.                                               Number         Street
         If you have more than one
         sole proprietorship, use a
         separate sheet and attach it
         to this petition.
                                                             City                                                   State        ZIP Code



                                                            Check the appropriate box to describe your business:
                                                            U   Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                            U   Single Asset Real Estate (as defined in ii U.S.C. § 101(51 B))
                                                            U   Stockbroker (as defined in ii U.S.C. § 101(53A))
                                                            U   Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                            U   None of the above


     13. Are you filing under                      If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
         Chapter 11 of the                         can set appropriate deadlines. if you indicate that you are a small business debtor, you must attach your
         Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                                   any of these documents do not exist, follow the procedure in 11 U.S.C. § 11 16(1)(B).
         are you a small business
         debtor?
                                                       No. I am not filing under Chapter 11.
         For a definition of small
         business debtor, see                      U   No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
         ii U.S.C. § 101(51D).                              the Bankruptcy Code.

                                                   U Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                            Bankruptcy Code.



    M            Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


     14. Do you own or have any                     i No
         property that poses or is
         alleged to pose a threat                  U Yes. What is the hazard?
         of imminent and
         identifiable hazard to
         public health or safety?
         Or do you own any
         property that needs
                                                              If immediate attention is needed, why is it needed?
         immediate attention?
         For example, do you own
         perishable goods, or livestock
         that must be fed, or a building
         that needs urgent repairs?
                                                              Where is the property?
                                                                                       Number        Street




                                                                                       City                                          State      ZIP Code


       Official Form 101                                     Voluntary Petition for individuals Filing for Bankruptcy                                  page 4
Filed 12/26/18                                                              Case 18-15109                                                                                      Doc 1


     Debtor 1       David              0.                Villepas                                           Case number(fflmowe)_______________________________
                   First Name     Mde Name               Lau Name




    •rii. Explain Your Efforts to Receive a Briefing About Credit Counseling

                                             About Debtor 1:                                                     About Debtor 2 (Spouse Only In a Joint Case):
     is. Tell the court whether
         you have received a
         briefing about credit               You must check one:                                                 You must check one:
         counseling.                         66   I received a briefing from an approved credit                  UI    received a briefing from an approved credit
                                                  counseling agency within the 180 days before I                     counseling agency within the 180 days before I
         The law requires that you                filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
         receive a briefing about credit          certificate of completion.                                         certificate of completion.
         counseling before you file for
                                                  Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
         bankruptcy. You must
                                                  plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
         truthfully check one of the
         following choices. If you                I received a briefing from an approved credit                  Ui received a briefing from an approved credit
         cannot do so, you are not                counseling agency within the 180 days before I                     counseling agency within the 180 days before I
         eligible to file.                        filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                                  certificate of completion.                                         certificate of completion.
         If you file anyway, the court            Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
         can dismiss your case, you               you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
         will lose whatever filing fee            plan, if any.                                                      plan, if any.
         you paid, and your creditors
         can begin collection activities     L]   I certify that I asked for credit counseling                   Ui certify that I asked for credit counseling
         again.                                   services from an approved agency1 but was                          services from an approved agency, but was
                                                  unable to obtain those services during the 7                       unable to obtain those services during the 7
                                                  days after I made my request, and exigent                          days after I made my request, and exigent
                                                  circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                                  of the requirement.                                                of the requirement.
                                                  To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                                  requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                                  what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                                  you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                                  bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                                  required you to file this case.                                    required you to file this case.
                                                  Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                                  dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                                  briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                                  If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                                  still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                                  You must file a certificate from the approved                      You must file a certificate from the approved
                                                  agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                                  developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                                  may be dismissed.                                                  may be dismissed.
                                                  Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                                  only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                                  days.                                                              days.

                                                  I am not required to receive a briefing about                  U   I am not required to receive a briefing about
                                                  credit counseling because oft                                      credit counseling because oft

                                                       Incapacity. I have a mental illness or a mental                U    Incapacity. I have a mental illness or a mental
                                                                     deficiency that makes me                                            deficiency that makes me
                                                                     incapable of realizing or making                                    incapable of realizing or making
                                                                     rational decisions about finances.                                  rational decisions about finances.
                                                  U    Disability. My physical disability causes me                   [3   Disability. My physical disability causes me
                                                                    to be unable to participate in a                                    to be unable to participate in a
                                                                    briefing in person, by phone, or                                    briefing in person, by phone, or
                                                                    through the internet, even after i                                  through the internet, even after I
                                                                    reasonably tried to do so.                                          reasonably tried to do so.
                                                  [3   Active duty. I am currently on active military                 U    Active duty. I am currently on active military
                                                                      duty in a military combat zone.                                     duty in a military combat zone.
                                                  If you believe you are not required to receive a                    If you believe you are not required to receive a
                                                  briefing about credit counseling, you must file a                   briefing about credit counseling, you must file a
                                                  motion for waiver of credit counseling with the court.              motion for waiver of credit counseling with the court.




       Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                        page 5
Filed 12/26/18                                                                  Case 18-15109                                                                        Doc 1


     Debtor I       David              0.                 Villegas
                                                          Last Name
                                                                                                          Case number   (ff,wwn)_______________________
                   Fijet Name     MiddN Name




    •FiTi         Answer These Questions for Reporting Purposes

                                                    Are your debts primarily consumer debts? Consumer debts are defined in ii U.S.C. § 101(8)
     16.   What kind of debts do                    as incurred by an individual pnmanly for a personal, family, or household purpose."
           you have?
                                                    U    No. Go to line 16b.
                                                    ZI   Yes. Gotoline 17.
                                                    Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                    money for a business or investment or through the operation of the business or investment.
                                                    U    No. Goto line 16c.
                                                    U    Yes. Goto line 17.

                                                    State the type of debts you owe that are not consumer debts or business debts.



     ii.   Are you filing under
           Chapter 7?                          U   No. I am not filing under Chapter 7. Go to line 18.

           Do you estimate that after              Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
           any exempt property is                       administrative expenses are paid that funds will be available to distribute to unsecured creditors?
           excluded and                                      No
           administrative expenses
           are paid that funds will be                   C] Yes
           available for distribution
           to unsecured creditors?
           How many creditors do               W   1-49                               U   1000-5,000                              U   25,001-50,000
           you estimate that you               U   50-99                              U   5,001-10,000                            U   50,001 -100,000
           owe?                                U   100-199                            U   10,001-25,000                           U   More than 100,000
                                               U   200-999

           How much do you                     0   $0-$50,000                         U   $1,000,001-s1 million                   U   $500,000,00141 billion
           estimate your assets to             U   $50,0014100,000                    U   $10,000,001-$50 million                 U   $1,000,000,001-$10 billion
           be worth?                           U   $100,001-$500,000                  U   $50,000,001 -$1 00 million              U   $10,000,000,001-$50 billion
                                               U   $500,001-S1 million                U   5100,000,0014500 million                U   More than $50 billion

     20.   How much do you                         $0-$50,000                         U $1,000,001-sio million                    U $500,000,001-$i billion
           estimate your liabilities           U   $so,00i-sioo,000                   U $10,000,001-550 million                   U $1,000,000,001-$10 billion
           to be?                              U sioo,00i-ssoo,000                    U $50,000,001-si 00 million                 U $10,000,000,001 -$50 billion
                                               U $500,001-S1 million                  U $100,000,0014500 million                  U More than $50 billion
    •fl           Sign Below

                                               I have examined this petition, and I dedare under penalty of perjury that the information provided is true and
     For you                                   correct.
                                               If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                               of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                               under Chapter 7.
                                               If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                               this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                               I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                               I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                               with a bankruptcy case can result in fines up to $250,000, or impnsonment for up to 20 years, or both.
                                               18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                         1                                         Signature of Debtor 2

                                                   Executed on I         I ('                                      Executed on
                                                               MM        I DO /YYYY                                               MM I DO IYYYY


       Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                       page 6
Filed 12/26/18                                                        Case 18-15109                                                                    Doc 1


     Debtor 1      David           0.                Villegas                                     Case number(ffmow,,)___________________________
                  rire Name   Mddle Name             Lee Name




     For you if you are filing this          The law allows you, as an individual, to represent yourself in bankruptcy court but you
     bankruptcy wIthout an                   should understand that many people find it extremely difficult to represent
     attorney                                themselves successfully. Because bankruptcy has long-term financial and legal
                                             consequences, you are strongly urged to hire a qualified attorney.
     If you are represented by
     an attorney, you do not                 To be successful, you must correctly file and handle your bankruptcy case. The rules are very
     need to file this page.                 technical, and a mistake or inaction may affect your rights. For example, your case may be
                                             dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                             hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                             firm if your case is selected for audit. If that happens, you could lose your right to file another
                                             case, or you may lose protections, including the benefit of the automatic stay.
                                             You must list all your property and debts in the schedules that you are required to file with the
                                             court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                             in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                             property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                             also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                             case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                             cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                              Bankruptcy fraud is a serious crime; you could be fined and imprisoned.
                                              If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                              hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                              successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                              Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                              be familiar with any state exemption laws that apply.

                                              Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                              consequences?
                                                 No
                                                 Yes
                                              Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                              inaccurate or incomplete, you could be fined or imprisoned?
                                              UNo
                                                Yes
                                              Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                                 No
                                              U Yes. Name of Person
                                                      Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).


                                              By signing here, I acknowledge that i understand the risks involved in filing without an attorney. I
                                              have read and understood this notice, and I am aware that filing a bankruptcy case without an
                                              attorney may cause me to lose my rights or property if I do not properly handle the case.


                                                                                                      JC
                                           Ngna u f D btor I                                               Signature of Debtor 2

                                              Date                                                         Date
                                                                MM/DO /YYYY                                                 MM/ DO/YYYY

                                              Contact phone                                                contact phone

                                              Cell phone                                                   cell phone

                                              Email address                                                Email address



       Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                 page 8
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                                                           Certificate Number: 15725-CAE-CC-03 1936309

                                                          IIIII IIIIIIIII 11111 I II III 111111111 11111 HI 1111111111 IU
                                                                              15725-CAECC03 1936309




                                CERTIFICATE OF COUNSELING

            I CERTIFY that on November 21, 2018, at 7:15 o'clock PM EST, David Villegas
            received from 001 Debtorcc, Inc., an agency approved pursuant to 11 U.S.C. §
            111 to provide credit counseling in the Eastern District of California, an
            individual [or group] briefing that complied with the provisions of 11 U.S.C. §
            109(h) and 111.
            A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
            copy of the debt repayment plan is attached to this certificate.
            This counseling session was conducted by internet.




            Date: November 21. 2018                         By:       Is/Christine Tones


                                                            Name: Christine Tones


                                                            Title: Counselor




            * Individuals who wish to file a bankruptcy case under title Ii of the United States Bankruptcy
            Code are required to file with the United States Bankruptcy Court a completed certificate of
            counseling from the nonprofit budget and credit counseling agency that provided the individual
            the counseling services and a copy of the debt repayment plan, if any, developed through the
            credit counseling agency. See II U.S.C. § § 109(h) and 521(b).
Filed 12/26/18                                                                                    Case 18-15109                                                                                                       Doc 1




          Debtor 1              David                                  0.                         Villegas
                                Flast Name                        Middle Name                      Last Name

          Debtor 2
          (Spouse, if filing)   Fhst Name                         Middle Name                      Last Name


          United States Bankruptcy Court for the: Eastern Distiict of California

          Case number                                                                                                                                                                        O    Check if this is an
                                (If known)                                                                                                                                                        amended filing




     Official Form 106Sum
     Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                               12115

     Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
     information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
     your original forms, you must fill out a new Summary and check the box at the top of this page.


    •i                    Summarize Your Assets


                                                                                                                                                                                          Your assets
                                                                                                                                                                                          Value of what you own

      1      Schedule A/B: Property (Official Form 1 06A/B)
                                                                                                                                                                                              $               0.00
             la. Copy line 55, Total real estate, from Schedule A/B ..........................................................................................................


              lb. Copy line 62, Total personal property, from Schedule A./B ...................................................... .........................................                  $       59,300.00

              lc.   Copy line 63, Total of all property on Schedule A/B ................... .......... ............................................................................
                                                                                                                                                                                      I       $       59,300.00


    •FThW                 Summarize Your Liabilities


                                                                                                                                                                                           Your liabilities
                                                                                                                                                                                           Amount you owe
      2.     Schedule D: Creditors Who Have Claims Secured by Properly (Official Form 1 06D)
                                                                                                                                                                                                      41,180.00
             2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part I of Schedule D ........... .$

      3. Schedule EF: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                                              $               0.00
            Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule ElF ............................................

                    Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule ElF .......................................                                             16,030.00
                                                                                                                                                                                           +$

                                                                                                                                                      Your total liabilities                  $       57,210.00


     •flT' Summarize Your Income and Expenses


      4.     Schedule I: Your Income (Official Form 1061)
                                                                                                                                                                                                        2.681 .66
             Copy your combined monthly income from line 12 of Schedule I

      S.      Schedule .J: Your Expenses (Official Form 106J)
              Copy your monthly expenses from line 22c of Schedule J                                                                                                                          $         2,675.00




      Official Form 106Sum                                        Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1 of 2
Filed 12/26/18                                                              Case 18-15109                                                                       Doc 1

     Iebtor I         David                         0.                   Villegas                         Case number (if lmown)___________________________
                      Fat Name       Middle Name         Last Name




    •mr Answer These Questions for Administrative and Statistical Records

         Are you filing for bankruptcy under Chapters 7, If, or 13?

         U No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
                Yes


         What kind of debt do you have?

         10 Your debts are primarily consumer debts. Consumer debts are those Incurred by an individual primarily for a personal,
                family, or household purpose." ii U.S.C. § 101(8). Fill out lines 8-99 for statistical purposes. 28 U.S.C. § 159.

         U Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
                this form to the court with your other schedules.



         From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
         Form 122A-1 Line 11; OR, Form 122B Une 11; OR, Form 122C-1 Line 14.                                                               $       3,331.66




      9. Copy the following special categories of claims from Part 4, line 6 of Schedule ElF:


                                                                                                                 Total claim


           From Part 4 on Schedule ElF, copy the following:


                Domestic support obligations (Copy line 6a.)                                                     $                  0.00


                Taxes and certain other debts you owe the government. (Copy line 6b.)                            $                  0.00


                Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                  $                  0.00


                Student loans. (Copy line 6f.)                                                                   $                  0.00

                Obligations arising out of a separation agreement or divorce that you did not report as          $                  0.00
                priority claims. (Copy line 6g.)

                Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)               1                  0.00


                Total. Add lines 9a through 9f.                                                                  $                  0.00




   Official Form 1 O6Sum Summary of Your Assets and Liabilities and Certain Statistical Information                                               page 2 of 2
Filed 12/26/18                                                                        Case 18-15109                                                                              Doc 1




    Debtor 1              David                             0.                     Vittegas
                          Fkst Name                    Middle Name                 1.5,1 Name

    Debtor 2
    (Spouse, if filing)   Fimi Name                    Middle Name                 Laid Name



    United States Bankruptcy Court for the: Eastern District of California

    Case number
                                                                                                                                                    ci Check if this is an
                                                                                                                                                        amended filing

     Official Form I06AIB
     Schedule A/B: Property                                                                                                                                         12/15

     In each category, separately list and describe Items. List an asset only once. If an asset fits In more than one category, list the asset in the
     category where you think It fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
     responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
     write your flame and case number (if known). Answer every question.

   •T               Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

    1. Do you own or have any legal or equitable interest in any residence, building, land, or simIlar property?

         id   No. Go to Part 2.
         U    Yes. Where is the property?
                                                                             What is the property? Check all that apply.       Do not deduct secured daims or exemptions. Put
                                                                             U    Single-family home                           the amount of any secured claims on ScheduleD:
                                                                                                                               Creditora Who Have Claims Secured by Property.
           1.1.
                   Street address, if available, or other description
                                                                             U    Duplex or multi-unit building
                                                                             U   Condominium or cooperative                    Current value of the Current value of the
                                                                             U    Manufactured or mobile home                  entire property?      portion you own?
                                                                             U    Land
                                                                             U    Investment property
                                                                             U    Timeshare                                    Describe the nature of your ownership
                   City                            State         ZIP Code                                                      Interest (such as fee simple, tenancy by
                                                                             U    Other                                        the entireties, or a life estate), If known.
                                                                             Who has an interest in the property? Check one.
                                                                             U Debtor 1 only
                   County                                                    U Debtor 2 only
                                                                             U Debtor I and Debtor 2 Only                      U Check if this is community property
                                                                                                                                   (see instructions)
                                                                             U At least one of the debtors and another
                                                                             Other Information you wish to add about this item, such as local
                                                                             property identification number:
         If you own or have more than one, list here:
                                                                            What is the property? Check all that apply.        Do not deduct secured daims or exemptions. Put
                                                                            U    Single-family home                            the amount of any secured claims on Schedule D:
                                                                                                                               Creditors Who Have Claims Secured by Property.
           1.2.
                   Street address, if available, or other description
                                                                            U    Duplex or multi-unit building
                                                                            U    Condominium or cooperative                    Current value of the Current value of the
                                                                            U    Manufactured or mobile home                   entire property?      portion you own?
                                                                            U    Land
                                                                            U    investment property
                                                                                                                               Describe the nature of your ownership
                   City                             State        ZIP Code
                                                                            U    Timeshare
                                                                                                                               Interest (such as fee simple, tenancy by
                                                                            U    Other                                         the entireties, or a life estate), if known.
                                                                            Who has an interest in the property? Check one
                                                                            U Debtor I only
                   County                                                   U Debtor 2 only
                                                                            U Debtor 1 and Debtor 2 only                       U Check If this is community property
                                                                            U At least one of the debtors and another              (see instructions)

                                                                            Other information you wish to add about this item, such as local
                                                                            property Identification number:


     Official Form I O6NB                                                    Schedule NB: Property                                                               page 1
Filed 12/26/18                                                                         Case 18-15109                                                                                Doc 1
     Debtor 1          David                            0.                        VilIegas                      Case number it
                       First Name     Middle Name             1.081 Name




                                                                           What is the property? Check all that apply.           Do not deduct secured daims or exemptions. Put
                                                                           U    Single-family home                               the amount of any secured claims on Schedule 1):
         1.3.                                                                                                                    Creditors Who Have Claims Secured by Property.
                Street address, if available, or other description         U    Duplex or multi-unit building
                                                                           U    Condominium or cooperative                       Current value of the Current value of the
                                                                                                                                 entire property?      portion you own?
                                                                           U    Manufactured or mobile home
                                                                           U    Land
                                                                           U    Investment property
                                                                                                                                 Describe the nature of your ownership
                City                            State        ZIP Code      U    Timeshare
                                                                                                                                 interest (such as fee simple, tenancy by
                                                                           Ci   Other                                            the entireties, or a life estate), if known.
                                                                           Who has an interest in the property? Check one.
                                                                           U Debtor 1 only
                County
                                                                           U Debtor 2 only
                                                                           U Debtor 1 and Debtor 2 only                          U   Check if this is community property
                                                                                                                                     (see instructions)
                                                                           U At least one of the debtors and another
                                                                           Other information you wish to add about this item, such as local
                                                                           property Identification number:


       Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                                      0.00
                                                                                                                                                           $
       you have attached for Part 1. Write that number here . ...................................................................................... 4




   •n&w Describe Your Vehicles


     Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
    you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


        Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
        UNo
        61   Yes


             . Make:                          Mazda                        Who has an interest in the property? Check one.       Do not deduct secured daims or exemptions. Put
                                                                                                                                 the amount of any secured claims on Schedule 0:
                Model:                        6                                 Debtor I only                                    Creditors Who Have Claims Secured by Property.
                                              2018                         U Debtor 2 only
                Year:                                                                                                            Current value of the Current value of the
                                                                           U Debtor I and Debtor 2 only
                                              33K                                                                                entire property?      portion you own?
                Approximate mileage:                                       U At least one of the debtors and another
                Other information:
                                                                                                                                 $        22,000.00 $                22,000.00
                                                                            C] Check if this Is community property (see
                                                                                instructions)



        If you own or have more than one, descnbe here:

         12.    Make:                         Ford                         Who has an Interest in the property? Check one.       Do not deduct secured daims or exemptions. Put
                                                                                                                                 the amount of any secured claims on Schedule 0:
                Model:                        Edge                              Debtor I only                                    Creditors Who Have Claims Secured by Properly.
                                              2011                          Ci Debtor 2 only
                Year:                                                                                                            Current value of the Current value of the
                                                                            U Debtor 1 and Debtor 2 only                         entire property?      portion you own?
                Approximate mileage:          77K
                                                                            U At least one of the debtors and another
                Other information:
                                                                                                                                 $_10,000.00 $_10,000.00
                                                                            U Check if this Is community property (see
                                                                                instructions)




      Official Form 106AIB                                                  Schedule NB: Property                                                                   page 2
Filed 12/26/18                                                                                 Case 18-15109                                                                                                   Doc 1
     Debtorl           David                                  0.                            VilIegas                                 Casenumber
                        F&st Name           Middle Name               Laid Name




                                                                                   Who has an interest in the property? Check one.                          Do not deduct secured daims or exemptions. Put
          3.3. Make:
                                                                                                                                                            the amount of any secured claims on Schedule D:
                  Model:                                                           U Debtor I only                                                          Creditors Who Have Claims Secured by Property.
                                                                                   U Debtor 2 only
                  Year                                                                                                                                      Current value of the Current value of the
                                                                                   U Debtor 1 and Debtor 2 only                                             entire property?      portion you own?
                  Approximate mileage:                                             U At least one of the debtors and another
                  Other information:
                                                                                   U Check If this Is community property (see                                                         $
                                                                                        instructions)


          34 Make:                                                                 Who has an interest In the property? Check one.                          Do not deduct secured daims or exemptions. Put
                                                                                                                                                            the amount of any secured claims on Schedule b:
                  Model:                                                           U Debtor 1 only                                                           Creditors Who Have Claims Secured by Property.
                                                                                   U Debtor 2 only
                  Year:                                                                                                                                     Current value of the Current value of the
                                                                                   U Debtor I and Debtor 2 only                                             entire property?      portion you own?
                  Approximate mileage:                                             U At least one of the debtors and another
                  Other information:
                                                                                    U Check If this is community property (see
                                                                                        instructions)




    4. Watercraft, aircraft, motor homes, AVIs and other recreational vehicles, other vehicles, and accessories
          Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

          id   No
          UYes


                                                                                   Who has an Interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
          4.1. Make:
                                                                                                                                                             the amount of any secured claims on Schedule 0:
                  Model:                                                           U Debtor 1 only                                                           Creditors Who Have Claims Secured by Property.
                                                                                   U Debtor 2 only
                  Year:
                                                                                   U Debtor 1 and Debtor 2 only                                              Current value of the Current value of the
                  Other information:                                               U At least one of the debtors and another                                 entire property?      portion you own?

                                                                                    U Check if this is community property (see
                                                                                        instructions)



          If you own or have more than one, list here:
                                                                                   Who has an Interest in the property? Check one. Do not deduct secured daims or exemptions. Put
          4.2. Make:
                                                                                                                                                             the amount of any secured claims on Schedule 0:
                    Model:                                                         U Debtor 1 only                                                           Creditors Who Have Claims Secured by Property.
                                                                                   U Debtor 2 only
                  Year                                                                                                                                       Current value of the Current value of the
                                                                                   • Debtor 1 and Debtor 2 only
                                                                                                                                                             entire property?      portion you own?
                    Other information:                                             • At least one of the debtors and another


                                                                                    U Check if this is community property (see                               $_______________ $_______________
                                                                                        instructions)




     5.   Add the dollar value of the portion you own for all of your entries from Part 2, Including any entries for pages
          you have attached for Part 2. Write that number here ...........................................................................................................
                                                                                                                                                                                     L          32,000.00




      Official Form 106A/B                                                           Schedule AIB: Property                                                                                    page 3
Filed 12/26/18                                                                                        Case 18-15109                                                                                                  Doc 1
     Debtor I          David
                        Fret Name            Middle Neme
                                                                  0.
                                                                          Last Name
                                                                                                  Villegas                                      Case number        (If known)_________________________
   •F1Il Describe Your Personal and Household Items

                                                                                                                                                                                           Current value of the
    Do you own or have any legal or equitable interest in any of the following items?                                                                                                      portion you own?
                                                                                                                                                                                           Do not deduct secured daims
                                                                                                                                                                                           or exemptions.
        Household goods and furnishings
        Examples: Major appliances, furniture, linens, china, kitchenware
             No
             Yes. Describe .........        [ousehold appliances, furniture and kitchenware, etc.                                                                                                         4,000.00
                                                                                                                                                                                           j$
        Electronics
        Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                   collections; electronic devices induding cell phones, cameras, media players, games
        U    No                                                                                                                                 .
             Yes. Describe..........          GeneraI electronics, etc                                                                                                                         $             500.00

       Collectibles of value
       Examples: Antlques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                  stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
           No
           Yes. Describe .......... .Movies, music and books                                                                                                                       .           $               50.00

       Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf dubs, skis; canoes
                 and kayaks; carpentry tools; musical instruments
             No    .
        U    Yes. Describe
                                                                                                                                                                                               $__________________

        Firearms
        Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        65   No                        ...                           .                    .                                   .                      .            ..      .
        U    Yes. Describe ....... ...

     ii. Clothes
        Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
             No                       ....... ...................................................................
             Yes. Describe .......... .Clothing apparel                                                                                                                                                      200.00


        Jewelry
        Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
                  gold, silver
        UNo
         Yes. Describe

        Non-farm animals
                                                                                                                                                                                       .11.1   $           3,000.00


        Examples: Dogs, cats, birds, horses
             No
        U    Yes. Describe...........


        Any other personal and household items you did not already list, including any health aids you did not list

             No
        U    Yes. Give specific
             information

        Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
        forPart 3. Write that number here ......................................................................................................................................       4   I   $           7,750.00



     Official Form 1 O6AJB                                                                    Schedule NB: Property                                                                                     page 4
Filed 12/26/18                                                                                                        Case 18-15109                                                                                                             Doc 1
     Debtor I          David                                              0.                                     Villegas                                              Case number   fknøwe)_________________________
                         Fst Name                 Mlddte Name                        Last Name




    r-Y.WrImDescribe Your Financial Assets

    Do you own or have any legal or equitable interest in any of the following?                                                                                                                                       Current value of the
                                                                                                                                                                                                                      portion you own?
                                                                                                                                                                                                                      Do not deduct secured daims
                                                                                                                                                                                                                      or exemptions.

       Cash
        Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

            No
            Yes ............................................. .... ...............................................................................................................   Cash ........................



       Deposits of money
        Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
                          and other similar institutions. If you have multiple accounts with the same institution, list each.

        LINo
            Yes                                                                                           Institution name:


                                                    17.1. Checking account:                               Wells Fargo Bank checking account                                                                            $                25.00
                                                    17.2. Checking account                                                                                                                                           $__________________

                                                    17.3. savings account                                 Wells Fargo Bank savings account                                                                             $_25.00
                                                    17.4. Savings account                                                                                                                                            $___________________

                                                    17.6. Certificates of deposit                                                                                                                                      $__________________

                                                    17.6. Other financial account                                                                                                                                    $___________________

                                                    17.7. Other financial account:                                                                                                                                   $___________________

                                                    17.8. Other financial account:                                                                                                                                   $___________________

                                                    17.9. Other financial account:                                                                                                                                   $___________________




        Bonds, mutual funds, or publicly traded stocks
        Examples: Bond funds, investment accounts with brokerage firms, money market accounts
             No
        U Yes •.................                    Institution or issuer name:




        Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
        an LLC, partnership, and Joint venture

             No                                     Name of entity:                                                                                                                  % of ownership:
        U Yes. Give specific                                                               0%
                                                                                                                                                                                                                        $_________________
          information about                                                                 rio,
                                                                                            VFO
          them .........................__________________________________________________
                                                                                            0%
                                                                                                                                                                                                                        $____________




     Official Form 106NB                                                                                 Schedule NB: Property                                                                                                      page 6
Filed 12/26/18                                                                              Case 18-15109                                                          Doc 1
     Debtor 1         David                                   0.                       Villegas             Case number (iik,,amn)____________________________
                        First Name            Mktd!e Name            thst Name




       Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
        Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

             No
        U Yes. Give specific                  Issuer name:
             information about
             them                                                                                                                          $_________________




        Retirement or pension accounts
        Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        60   No
        U    Yes. List each
             account separately. Type of account:                       Institution name:

                                              401(k) or similar plan:

                                              Pension plan:                                                                                $____________________

                                                                         IRA account                                                       $          3,000.00

                                              Retirement account         Retirement account                                                $          6,000.00
                                              Keogh:                                                                                       $________________

                                              Additional account:                                                                          $____________________

                                              Additional account:                                                                          $____________________



       Security deposits and prepayments
        Your share of all unused deposits you have made so that you may continue service or use from a company
        Examples: Agreements with landlords, prepald rent, public utilities (electric, gas, water), telecommunications
        companies, or others

             No

        U    Yes                                                    Institution name or individual:
                                              Electric:

                                              Gas:
                                                                                                                                           $__________________
                                               leafing oil:
                                                                                                                                           $____________________
                                              Security deposit on rental unit:   Heritage Property Management
                                                                                                                                           $_800.00
                                              Prepaid rent:
                                                                                                                                           $___________________
                                              Telephone:
                                                                                                                                           $_____________________
                                              Water:
                                                                                                                                           $____________________
                                              Rented fumlture:

                                              Other



       AnnuIties (A contract for a periodic payment of money to you, either for life or for a number of years)

             No
        U    Yes ..........................   Issuer name and description:




     Official Form 106NB                                                         Schedule NB: Property                                               page.6
Filed 12/26/18                                                                  Case 18-15109                                                                                         Doc 1
     Debtor I       David                               0.                    Villegas                        Case number (if   known)____________________________
                      Fkst Name        Mdle Name                 I.aet Name




       Interests in an education IRA, in an account In a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
             No,
        U    Yes ....................................Institution name and desaiption. Separately file the records of any interests. 11 U.S.C. § 521(c):

                                                                                                                                                              $




       Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
       exercisable for your benefit

        91   No
        U    Yes. Give specific
             information about them....                                                                                                                       $


        Patents, copyrights, trademarks, trade secrets, and other intellectual property
        Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
             No
        U    Yes. Give specific
             information about them....


        LIcenses, franchises, and other general intangibles
        Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

             No
                                        r
        U    Yes. Give specific
             information about them.... )                                                                                                                     $


     Money or property owed to you?                                                                                                                           Current value of the
                                                                                                                                                              portion you own?
                                                                                                                                                              Do not deduct secured
                                                                                                                                                              claims or exemptions.

     28. Tax refunds owed to you

        U    No
        id   Yes. Give specific information
                                                                [ax refunds (201 8)                                             Federol:                  $           8,000.00
                  about them, including whether
                  you already filed the returns                                                                                 State:                    $
                  and the tax years . .......................
                                                                                                                                Local:                    $


     29. FamIly support
        Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
             No
        U    Yes. Give specific information ..............
                                                                                                                                Alimony:                      $
                                                                                                                                Maintenance:                  $
                                                                                                                                Support                       $
                                                                                                                                Divorce settlement            $
                                                                                                                                Property settlement           $
Filed 12/26/18                                                                                            Case 18-15109                                                                                                                              Doc 1
     Debtor i      David                                      0.                                      Villegas                                              Case number (rf
                    Fknt Name             MNdle Name                     t.ast Name




    31. Interests in insurance policies
       Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
            No
        U   Yes. Name the insurance company                            Company name:                                                                            Beneficiary:                                            Surrender or refund value:
                 of each policy and list its value.
                                                                                                                                                                                                                        $

                                                                                                                                                                                                                         $



       Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living bust, expect proceeds from a life insurance policy, or are currently entitled to receive
       property because someone has died.
            No
        U   Yes Give specific information                                                                                                                     -
                                                                                                                                                                                                                         $


        Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
        Examples: Accidents, employment disputes, insurance claims, or rights to sue
            No
          l Yes. Describe each claim           .....................




       Other contingent and unliquldated claims of every nature, including counterclaims of the debtor and rights
       to set off claims
            No
        U   Yes. Describe each claim                                                                                                                                __-.---- =i
                                                                       __                                                                                           -_----


    35.Any financial assets you did not already list
            No
        U   Yes. Give specific information
                                                                                                                                                                                                                         $


    36. Add the dollar value of all of your entries from Part 4, Including any entries for pages you have attached
       for Part 4. WrIte that number here                   ....................................................................................................................................................   4     $           19,550.00



   •1TL           Describe Any Business-Related Property You Own or Have an Interest in. List any real estate in Part 1.

     37.00 you own or have any legal or equitable interest in any business-related property?
            No. Go to Part6.
        U   Yes. Go to line 38.
                                                                                                                                                                                                                       Current value of the
                                                                                                                                                                                                                       portion you own?
                                                                                                                                                                                                                       Do not deduct secured claims
                                                                                                                                                                                                                       or exemptions.

        Accounts receivable or commissions you already earned
            No
        U   Yes. Describe       .......




        Office equipment, furnishings, and supplies
        Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
            No
        U   Yes. Describe       .......




     Official Form 1 O6AIB                                                                   Schedule NB: Property                                                                                                                   page 8
Filed 12/26/18                                                                                                         Case 18-15109                                                                                               Doc 1
               Debtor I         David                                      0.                                     Villegas                                               case number (if know,,)_____________________________
                                  flretName                 MiddleName                Last Name




               40. Machinery, fixtures, equipment, supplies you use In business, and tools of your trade

                       No
                  U Yes. Describe .......


               41.invefltOry
                      No
                   U  Yes.  Descnbe


               42. Interests in partnerships or Joint ventures
                       No
                  U Yes. Describe ....... Name of entity:                                                                                                                              % of ownership:




                  Customer lists, mailing lists, or other compilations
                     No
                  U Yes. Do your lists include personally identifiable information (as defined in ii U.S.C. § 101 (41A))?
                                     No
                               U Yes. Describe ........
                                                                                                                                                                                                         $


                  Any business-related property you did not already list
                   d No
                  U Yes. Give specific                                                                                                                                                                   $
                     information .........
                                                                                                                                                                                                         $

                                                                                                                                                                                                         $

                                                                                                                                                                                                         $




                  Add the dollar value of all of your entries from Part 5, Including any entries for pages you have attached                                                                                                   0.00
                                                                                                                                                                                                         $
                  forPartS. Write that number here                       ........................................................................................................                    4



       •FThI                   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                               if you own or have an interest in farmland, list it in Part 1.


                  Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
                       No. Go to Part 7.
       •           U Yes. Go to line 47.•
           •                                                                                                                                                                                             Current value of the
                                                                                                                                                                                                         portion you own?
   •                                                                                                                                                                                                     Do not deduct secured claims
                                                                                                                                                                                                         or exemptions.
       • 47. Farm animals
             Examples: Livestock, poultry, farm-raised fish
                       No
                   U   Yes ..........................

                                                        I          •                                                                                                                                         ______



                Official Form 106NB                                                                       Schedule NB: Property                                                                                       page 9
Filed 12/26/18                                                                                             Case 18-15109                                                                                                                      Doc 1
     Debtor I          David                                       0.                                    Villegas                                        Case number
                         Fist Name            Middle Name                    Last Name




       Crops --- either growing or harvested

             No
        U    Yes. Give specific
             information

       Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
             No
                                          .--.--.-
        UYes ..........................



       Farm and fishing supplies, chemicals, and feed

             No
        U    Yes

                                                                                                                                                                                                                         $

       Any farm- and commercial fishing-related property you did not already list
        id   No
        U    Yes. Give specific
             information
                                                                                                                                                                                                                     1
                                                                                                                                                                                                                         $____________________

        Add the dollar value of all of your entries from PartS, including any entries for pages you have attached
                                                                                                                                                                                                                         $              0.00
        forPart 6. Write that number here ....................................................................................................................................................4




   •ma' Describe AH Property You Own or Have an Interest in That You Did Not List Above

        Do you have other property of any kind you did not already list?
        Examples: Season tickets, countcy club membership

        60   No
                                                                                                                                                                                                                             $
        U    Yes. Give specific
             information

                                                                                                                                                                                                                             $



       Add the dollar value of all of your entries from Part 7. Write that number here                                                       .................................................................   4
                                                                                                                                                                                                                     I       $         0.00



   •fliL              List the Totals of Each Part of this Form

     55.Part 1: Total real estate, line 2               ..............................................                                                                                                                               0.00

    58. Part 2: Total vehicles, line S                                                                                  $            32,000.00

        Part 3: Total personal and household Items, line 15                                                             $               7,750.00

        Part 4: Total financial assets, line 36
                                                                                                                                     19,550.00

        Part 5: Total business-related property, line 45                                                                $

        Part 6: Total farm- and fishing-related property, line 52                                                       $                        0.00

        Part 7: Total other property not listed, line 54                                                            +$                           0.00

        Total personal property. Add lines 56 through 61                                .....................           $            59,300.00               Copy personal property total                        4 +             59,300.00


        Total of all property on Schedule NB. Add line 55 + line 62                                       ..........................................................................................                     $       59,300.00



      Official Form 106NB                                                                        Schedule A/B: Property                                                                                                           page 10
Filed 12/26/18                                                                  Case 18-15109                                                                                          Doc 1



       Dbtor1            David                             0.                   Villegas
                          First Name                  Middle Name               LaSt Name

       Debtor 2
       (Spouse, if flUng) First Name                  Middle Name               test Name


       United States Bankruptcy Court for the: Eastern District of California

       Case number                                                                                                                                         U   Check if this is an
       (if known)
                                                                                                                                                               amended filing



     Official Form I 06C
     Schedule C: The Property You Claim as Exempt                                                                                                                        04116

     Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
     Using the property you listed on Schedule A/B: Pmpei'ty (Official Form 106AIB) as your source, list the properly that you claim as exempt. If more
     space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
     your name and case number (if known).

     For each Item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
     specific dollar amount as exempt Alternatively, you may claim the full fair market value of the property being exempted up to the amount
     of any applicable statutory limit Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
     retirement funds—may be unlimited in dollar amount However, If you claim an exemption of 100% of fair market value under a law that
     limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
     would be limited to the applicable statutory amount


     •n                Identify the Property You Claim as Exempt


           WhIch set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
            56 You are claiming state and federal nonbanknjptcy exemptions. 11 U.S.C. § 522(b)(3)
            U You are daiming federal exemptions. 11 U.S.C. § 522(b)(2)

           For any property you list on Schedule NB that you claim as exempt, fill In the information below.


             Brief description of the property and line on Current value of the             Amount of the exemption you claim                   Specific laws that allow exemption
             Schedule A/B that lists this property          portion you own
                                                                    Copy the value from     Check only one box for each exemption.
                                                                    Schedule A'B

            Brief                                                                                                                               C.C.P. § 703.140 (b) (3)
            description:               Household furniture          $4,000.00               J6 $ 4,000,00
            Line from                                                                       U    100% of fair market value, up to
            Schedule A/B:              6                                                         any applicable statutory limit

            Brief                                                                                                                               C.C.P. § 703.140 (b) (3)
              sription:                Electronics. etc.            $500.00                 0$500.00
                                                                                            F1    15150/
                                                                                                 IUuJo UI
                                                                                                         € t..,h.                .  . ..
                                                                                                                . iu,aiimi Yrs ium, u      LU
            Line from
            Schedule A/B:                                                                        any applicable statutory limit

            Brief                                                                                                                               C.C.P. § 703.140 (b) (3)
            description:               Movies, music/books          $50.00                  14$50.00
            Line from                                                                       U 100% of fair market value, up to
             Schedule A/B:             R                                                         any applicable statutory limit


       3. Are you claiming a homestead exemption of more than $160,375?
           (Subject to adjustment on 4/01/19 and every 3 years after that for, cases filed on or after the date of adjustment.)
                  No
            U     Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                  U   No
                    UYes



      Official Form 1 06C                                           Schedule C: The Property You Claim as Exempt                                                     page 1 of   .a.
Filed 12/26/18                                                               Case 18-15109                                                                             Doc 1
     Debtor 1       David                         0.                         Villegas                    Case number (if Imown)_____________________________________
                   First Name        Midee Name          Last Name




                   Additional Page

            Brief description of the property and line           Current value of the   Amount of the exemption you claim         Specific laws that allow exemption
            on Schedule NB that lists this property              portion you own
                                                                 Copy the value from    Check only one box for each exemption
                                                                 Schedule A/B

           Brief                                                                                                                C.C.P. § 703.140 (b) (3)
                                Clothin                              $        200.00                 200.00
           description:
           Linefrom             11                                                      U 100% of fair market value, up to
                                                                                             any applicable statutory limit
           Schedule A/B:

           Brief                                                                                                                 C.C.P. § 703.140 (b) (5)
           description:
                                Everydpy jewelry                     $_3,000.00              s 3,000.00
           Line from
                                                                                        U 100% of fair market value, up to
                                12                                                           any applicable statutory limit
           Schedule A/B:

           Brief                WellsFargoC/S                        $_50.00                           50.00                     C.C.P. § 703.140 (b) (5)
           description:                                                                      $
           Line from
                                                                                        U    100% of fair market value, up to
                                17                                                           any applicable statutory limit
           Schedule AIB:

           Brief
           description:
                                IRA/Ret. .acct.                          _
                                                                     $9,000.00                    9,000.00                       C.C.P.   § 703.140 (b)(10)
                                                                                                                                 (E)
           Line from            21                                                      U 100% of fair market value, up to
           Schedule A/B:
                                                                                             any applicable statutory limit

           Brief
           description:
                                Securitydeposit                      $_800.00            4           80000                       C.C.P.    § 703.140 (b)(5)
           Line from
                                                                                         U 100% of fair market value, up to
           Schedule A/B:
                                22                                                           any applicable statutory limit


           Brief
           description:
                                Taxrefund(2018)                      $_8,000.00                    8,000.00                      C.C.P.    § 703.140 (b) (5)
           Line from
                                                                                         U 100% of fair market value, up to
                                28                                                           any applicable statutory limit
           Schedule It/B:

           Brief
           description:                                                                  Us_____
           Line from
                                                                                         U 100% of fair market value, up to
           Schedule A/B:                                                                     any applicable statutory limit

           Brief
           description:                                              $                   U$_____
           Line from
                                                                                         U 100% of fair market value, up to
           Schedule A/B:                                                                     any applicable statutory limit


           Brief
           description:                                              $                   U$
           Line from                                                                     U 100% of fair market value, up to
           Schedule A/B:                                                                     any applicable statutory limit

           Brief
           description:                                              $                   Us_____
           Line from                                                                     U 100% of fair market value, up to
            Schedule A/B:                                                                    any applicable statutory limit

           Brief
           description:                                              $______ Us____
            Line from                                                        U 100% of fair market value, up to
            Schedule A/B:                                                      any applicable statutory limit


           Brief
           description:                                              $_______ Us_____
            Une from
                                                                              U 100% of fair market value, up to
            Schedule AJB:                                                                    any applicable statutory limit



      Official Form 1 06C                                       Schedule C: The Property You Claim as Exempt                                        page .. of 2.
Filed 12/26/18                                                                        Case 18-15109                                                                                     Doc 1



     Debtor      1      David                               0.                       Villegas
                         First Name                     Middle Name                  Lest Name

     Debtor 2
     (Spouse, if filing) First Name                     Middle Name                  Lest Name


     United States Bankruptcy Court for the: Eastern District of California

     Case number
      (if known)                                                                                                                                             O    Check if this is an
                                                                                                                                                                  amended filing

     Official Form 106D
     Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                  12115
     Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
     information. if more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
     additional pages, write your name and case number (If known).

          Do any creditors have claims secured by your property?
          U      No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
          56 Yes. Fill in all of the information below.
    •FI              List All Secured Claims
                                                                                                                                     Column A          Column B               Column C
        List all secured claims. if a creditor has more than one secured claim, list the creditor separately Amount of claim                           Value of collateral Unsecured
        for each daim. If more than one creditor has a particular daim, list the other creditors in Part 2.   Do not deduct the                        that supports this portion
        As much as possible, list the claims in alphabetical order according to the creditor's name.          value of collateral,                     claim                If any

           Kinecta F.C.U.                                         Describe the property that secures the claim:                  $        27,730.00 $       22,000.00 $ 5,730.00
          Creditor's Name
           P.O. Box 1003                                        12018 Mazda 6 with 33K
          Number            Street                                                                                               I
                                                                  As of the date you file, the claim is: Check all that apply.
                                        U                             Contingent
           Manhattan Beach CA 90267 U                                 Unhiquidated
          City           State ZIP Code
                                        0                             Disputed
       Who owes the debt? Check one.                              Nature of lien. Check all that apply.
       4      Debtor I only                                       U   An agreement you made (Such as mortgage or secured
       U      Debtor 2 only                                           car loan)
       U      Debtor I and Debtor 2 only                          U   Statutory lien (such as tax lien, mechanic's lien)
       O      At least one of the debtors and another             U   Judgment lien from a lawsuit
                                                                  4   Other (including a right to offset) VehIcle
       U  Check if this claim relates to a
          community debt
       Date debt was incurred 02/06/201 /                         Last 4 digits of account number ......     ,j. .....   ..Z.
    121    Kinecta F.C.U.                                         Describe the property that secures the claim:                      $     13,450.00   $    10,000.00     $   3,450.00
          Creditor's Name
           P.O. Box 1003                                         2011 Ford Edge with 77K
          Number            Street

                                                                  As of the date you file, the claim is: Check all that apply.
                                                                  U Contingent
           Manhattan Beach               CA 90267                 0 Unhiquidated
          City                          State   ZIP Code
                                                                  U   DPUted
       Who owes the debt? Check one.                              Nature of lien. Check all that apply.
       4      Debtor I only                                       0   An agreement you made (such as mortgage or secured
       U      Debtor 2 only                                           car loan)
       U      Debtor 1 and Debtor 2 only                          U   Statutory lien (such,as tax lien, mechanic 's lien)
       U      At least one of the debtors and another             U   Judgment lien from a lawsuit
                                                                  4   Other (including a right to offset) vehicle
       U  Check if this claim relates to a
          community debt
       Date debt was incurred 02/06/2017                          Last 4 digits of account number         3_       ..
          Add the dollar value of your entries In Column A on this page. Write that number here:                                          411 80.0

      Official Form 1 06D                                 Schedule 0: Creditors Who Have Claims Secured by Property                                                 page 1 of   ._...
Filed 12/26/18                                                                        Case 18-15109                                                                                     Doc 1

     Debtor   1        David                                0.                       Villegas                       Case number (if     kn,wn)___________________________
                       t'kgt Name      Middle Name               Last Name




     P
                    Additional Page
                                                                                                                                 Column A                Column B               Column C
                                                                                                                                 Amount of claim         Value of collateral    Unsecured
                    After listing any entries on this page, number them beginning with 2.3, followed                                                     that supports this     portion
                                                                                                                                          edU the
                    by 2.4, and so forth.                                                                                        value of collateral,    claim                  If any

                                                                 Describe the property that secures the claim:                  $_______________         $                     $___________
        Creditors Name

        Number            Street

                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 U    Contingent
        City                            State   ZIP Code         U    Unhiquidated
                                                                 U    Disputed
      Who owes the debt? Check one.                              Nature of lien. Check all that apply.
      Ci      Debtor 1 only                                      O    An agreement you made (such as mortgage or secured
      U       Debtor2 only                                            car loan)
      U       Debtor 1 and Debtor 2 only                         U    Statutory lien (such as tax lien, mechanic's lien)
      U       At least one of the debtorsand another             U    Judgment lien from a lawsuit
                                                                 U    Other (including a nght to offset)
      U       Check If this claim relates to a
              community debt

      Date debt was incurred                                     Last 4 digIts of account number - - - -


                                                                 Describe the property that secures the claim:                  $                        $
         Creditofs Name

         Number           Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 U    Contingerit
                                                                 U    Unliquidated
         City                           State    ZIP Code
                                                                 U    Disputed
      Who owes the debt? Check one.
                                                                 Nature of lien. Check all that apply.
       U      Debtor 1 only
                                                                 U    An agreement you made (such as mortgage or secured
       U      Debtor 2 only                                           car loan)
       U      Debtor 1 and Debtor 2 only                         0    Statutory lien (such as tax lien, mechanic's lien)
       U      At least one of the debtors and another            0    Judgment lien from a lawsuit

       0      Check if this claim relates to a
                                                                 U    Other (including a right to Offset)
              community debt

       Date debt was Incun'ed                                    Last 4 digits of account number_ - - -


                                                                 Describe the property that secures the claim:                  $__                     $                      $___________
         Creditors Name

         Number           Street


                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 U    Contingent
         City                           State    ZIP Code        U    Unliquidated
                                                                 U    Disputed
       Who owes the debt? Check one.                             Nature of lien. Check all that apply.
       U      Debtor I only                                      U    An agreement you made (such as mortgage or secured
       U      Debtor 2 only                                           car loan)
       U      Debtor 1 and Debtor 2 only                         U    Statutory lien (such as tax lien, mechanic 's lien)
       U      At least one of the debtors and another            U    Judgment lien from a lawsuit
                                                                 U    Other (induding a right to offset)
       U      Check if this claim relates to a
              community debt

       Date debt was Incurred                                    Last 4 digits of account number            -

                  Add the dollar value of your entries in Column A on this page. Write that number here:                                          0.00
                  If this is the last page of your form, add the dollar value totals from all pages.
                  Write that number here:
                                                                                                                                LIa      41180 00

      Official Form 1 06D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                           page _ of ,...
Filed 12/26/18                                                          Case 18-15109                                                                                  Doc 1

     Debtor 1        David                        0.                   Villegas                       Case number
                     Fist Name     Midcte Name         Last Name


                     Ust Others to Be Notified for a Debt That You Already Listed

       Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
       agency is trying to collect from you for a debt you owe to someone else, list the creditor In Part 1, and then list the collection agency here. Similarly, if
       you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
       be notified for any debts In Part 1, do not fill out or submit this page.

                                                                                                 On which line in Part I did you enter the creditor?

            Name                                                                                 Last4dlgitsofaccountnumber_ - - -


            Number        Street




            City                                          State          ZIP Code


     [I]    Name
                                                                                                 On which line in Part I did you enter the creditor? -

                                                                                                 Last 4 digits of account number - - - -


            Number        Street




            City.                                         State          ZIP Code

                                                                                                 On which line in Part I did you enter the creditor?

            Name                                                                                 Last 4 digits of account number - - - -


            Number        Street




            City                                          State          ZIP Code

                                                                                                 On which line in Part I did you enter the creditor?

            Name                                                                                 Last 4 digits of account number ... 3   ..j   ,... ?...


            Number        Street




            City                                          State          ZIP Code


     [I]    Name
                                                                                                 On which line in Part I did you enter the creditor? -

                                                                                                 Last 4 digits of account number - - -


            Number        Street




            City                                          State          ZIP Code

                                                                                                 On which line in Part I did you enter the creditor?

            Name                                                                                 Last 4 digits of account number - - - -


            Number        Street




            City                                          State          ZIP Code



     Official Form 1060                          Part 2 of Schedule 0: Creditors Who Have Claims Secured by Property                                  page 3   of
Filed 12/26/18                                                                       Case 18-15109                                                                               Doc 1


      Debtor 1              David                               0.                   VilIegas
                            First Name                      Middle Name              Last Name


      Debtor 2
      (Spouse, if filing)   First Name                      Middle Name              Last Name


      United States Bankruptcy Court for the: Eastern Distnct of California
                                                                                                                                                           U   Check if this is an
      Case number
       (If known)                                                                                                                                              amenueu tiling



     Official Form 106EIF
     Schedule ElF: Creditors Who Have Unsecured Claims                                                                                                                   12115

     Be as complete and accurate as possible. Use Part I for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
     List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
     NB: Property (Official Form I06AIB) and on Schedule G: Executoiy Contracts and Unexpired Leases (Official Form 106G). Do not include any
     creditors with partially secured claims that are listed in ScheduleD: Creditors Who Have Claims Secured by Property. If more space is
     needed, copy the Part you need, fill it out number the entries in the boxes on the left Attach the Continuation Page to this page. On the top of
     any additional pages, write your name and case number (if known).

    = List All of Your PRIORITY Unsecured Claims

         Do any creditors have priority unsecured claims against you?
         66 No. Go to Part 2.
         U Yes.
         List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
         each claim listed, identify what type of claim it is. If a claim has both prionty and nonprionty amounts, list that claim here and show both priority and
         nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
         unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
         (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                            Total claim   Priority     Nonpriority
                                                                                                                                                          amount       amount


    El
    2____                                                                    Last 4 digits of account number -                 - - $ ___
                                                                                                                                      $ $___________
       Pnonty Creditors Name
                                                                             When was the debt incurred?
            Number              Street

                                                                             As of the date you file, the claim is: Check all that apply.

            City                                    State    ZIP   Code
                                                                             U   contingent
                                                                             U   Untiquidated
            Who incurred the debt? Check one.
                                                                             U   Disputed
            U      Debtor 1 only
            U      Debtor 2 only                                             Type of PRIORITY unsecured claim:
            U      Debtor   1   and Debtor 2 only
                                                                             U   Domestic support obligations
            U      At least one of the debtors and another
                                                                             U   Taxes and certain other debts you owe the government
            U      Check if this claim is for a community debt               U   Claims for death or personal injury while you were
            Is the claim subject to offset?                                      intoxicated
            UN0                                                              U   Other. Specify
            UYes

                                                                             Last 4 digits of account number - - - - $___________ $                                   $___________
            Priority Creditors Name
                                                                             When was the debt incurred?
            Number               Street
                                                                             As of the date you file, the claim is: Check all that apply.
                                                                             U   Contingent
            City                                    State    ZIP   Code      U   Unliquidated
            Who incurred the debt? Check one.                                U   Disputed
            U Debtor 1 only                                                  Type of PRIORITY unsecured claim:
            U      Debtor 2 only
                                                                             U   Domestic support obligations
            U      Debtor I and Debtor 2 only
            U      At least one of the debtors and another
                                                                             U   Taxes and certain other debts   you   owe the government
                                                                             U   Claims for death or personal injury while you were
            U      Check if this claim is for a community debt                   intoxicated
            Is the claim subject to offset?                                  U   Other. Specify
            U No
            U Yes


     Official Form 106EIF                                             Schedule ElF: Creditors Who Have Unsecured Claims                                          page 1 of9
Filed 12/26/18                                                                      Case 18-15109                                                                                        Doc 1
     Debtor 1           David                              0.                     VilIegas                          Case number      (if   knows)_____________________________________
                        First Name        Middle Name           Lest Name


                        Your PRIORITY Unsecured Claims - Continuation Page

      After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                                     Total claim   Priority      Nonpriority
                                                                                                                                                               amount        amount


                                                                            Last 4 digits of account number       - - - -
           Ptiority Creditors Name

                                                                            When was the debt incurred?
           Number              Street

                                                                            As of the date you file, the claim is: Check all that apply.

                                                                            U   Contingent
           City                                    State   ZIP Code         U   Unhiquidated
                                                                            U   Disputed
           Who incurred the debt? Check one.
           U      Debtor 1 only                                             Type of PRIORITY unsecured claim:
           U      Debtor 2 only
                                                                            U   Domestic support obligations
           U      Debtor 1 and Debtor 2 only
                                                                            U   Taxes and certain other debts you owe the government
           U      At least one of the debtors and another
                                                                            U   Claims for death or personal injury while you were
                                                                                intoxicated
           U Check if this claim is for a communitf debt
                                                                            U   Other. Specify

           Is the claim subject to offset?

           UN0
           Ues


    EJ     Priority Creditor's Name
                                                                            Last 4 digits of account number       - - - -

                                                                            When was the debt incurred?
           Number              Street

                                                                            As of the date you file, the claim is: Check all that apply.

                                                                            U   Contingent
           City                                    State   ZIP Code         U Unliquidated
                                                                            U   Disputed
           Who incurred the debt? Check one.
           U      Debtor 1 only                                             Type of PRIORITY unsecured claim:
           U Debtor 2 only
                                                                            U Domestic support obligations
           U      Debtor 1 and Debtor 2 only
                                                                            U   Taxes and certain other debts you owe the government
           U      At least one of the debtors and another
                                                                            U   Claims for death or personal injury while you were
                                                                                intoxicated
           U      Check if this claim is for a community debt
                                                                            U   Other. Specify

           Is the claim subject to offset?
           UN0
           U Yes

    LII                                                                     Last 4 digits of account number       - - - -
           Priority Creditor's Name

                                                                            When was the debt incurred?
           Number               Street

                                                                            As of the date you file, the claim is: Check all that apply.

                                                                            U Contingent
           City                                    State   ZIP Code         U   Unliquidated
                                                                            U   Disputed
           Who incurred the debt? Check one.
           U      Debtor   I   only                                         Type of PRIORITY unsecured claim:
           U      Debtor 2 only
                                                                            U   Domestic support obligations
           U      Debtor   1   and Debtor 2 only
                                                                            U   Taxes and certain other debts   you owe the government
           U      At least one of the debtors and another
                                                                            U   Claims for death or personal injury whileyou were
                                                                                intoxicated
           U      Check if this claim      is for a community debt
                                                                            U   Other. Specify

           Is the claim subject to         offset?

           UNo
           U      Yes


     Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                          page 2 of 9
Filed 12/26/18                                                                            Case 18-15109                                                                                           Doc 1
     Debtor 1           David                               0.                          Villegas                        Case number
                        First Name      Middle Name              Last Name


    •Ti                List All of Your NONPRIORITY Unsecured Claims

    • 3. Do any creditors have nonpriority unsecured claims against you?
         LI     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
                Yes

      4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
         nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
         included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured
         claims fill out the Continuation Page of Part 2.

                                                                                                                                                                               Total claim

    El] American Express
           Nonpriority Creditors Name
                                                                                                   Last 4 digits of account number        3 4 9 9
                                                                                                                                                                                     220000
                                                                                                                                                                           $______________________
                                                                                                   When was the debt incurred?           07/06/2016
           P.O. Box 981537
           Number             Street
           El Paso                                           TX               79998
           Cty                                               State           ZIP Code              As of the date you file, the claim is: Check all that apply.

                                                                                                   U   Contingent
           Who incurred the debt? Check one.                                                       U   Unliquidated
                  Debtor 1 only                                                                    U   Disputed
           U      Debtor 2 only
           LI     Debtor 1 and Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
           U      At least one of the debtors and another                                          U   Student loans
           LI     Check if this claim is for a community debt                                      U   Obligations arising out of a separation agreement or divorce
                                                                                                       that you did not report as priority claims
           Is the claim subject to offset?                                                         U   Debts to pension or profit-sharing plans, and other similar debts
                  No                                                                                   Other. Specify   Credit card
           U      Yes


           At&t - Uverse                                                                           Last 4 digits of account number -              . _.                     $                 0.00
           Nonprionty Creditors Name                                                               When was the debt incurred?

           4331 Communications Dr., FIr. 4W
           Number             Street
           Dallas                                            TX               75211                As of the date you file, the claim is: Check all that apply.
           City                                              State           ZIP   Code
                                                                                                   U   Contingent
           Who incurred the debt? Check one.                                                       U   Unliquidated

                  Debtor 1 only                                                                    U   Disputed

           U      Debtor 2 Only
                                                                                                   Type of NONPRIORITY unsecured claim:
           U      Debtor 1 and Debtor 2 only
           U      At least one of the debtors and another                                          U   Student loans
                                                                                                   U   Obligations arising out of a separation agreement or divorce
           U      Check if this claim is for a community debt                                          that you did not report as priority claims                  -
           Is the claim subject to offset?                                                         U   Debts to pension or profit-sharing plans, and other similar debts
                  No                                                                                   Other. Specify   Statement
           U      Yes


    Eli    Citicards CBNA
           Nonpnonty Creditors Name
                                                                                                   Last 4 digits of account number       _4 _j ._.Q .Q
                                                                                                                                         03/04/2015
                                                                                                                                                                           $          9,025.00
                                                                                                   When was the debt incurred?
            P.O. Box6190
           Number             Street
            Sioux Falls                                       SD              57117
                                                                                                   As of the date you file, the claim is: Check all that apply.
           City                                              State           ZIP   Code
                                                                                                   U   Contingent
           Who incurred the debt? Check one.
                                                                                                   U   Unliquidated
                  Debtor 1 only
                                                                                                   U   Disputed
           U      Debtor 2 only
           U      Debtor 1 and Debtor 2 only
                                                                                                   Type of NONPRIORITY unsecured claim:
           U      At least one of the debtors and another
                                                                                                   U   Student loans
           U      Check if this claim is for a community debt                                      U   Obligations arising out of a separation agreement or divorce
                                                                                                       that you did not report as priority claims
           Is the claim subject to offset?
                                                                                                   U   Debts to pension or profit-sharing plans, and other similar debts
                  No
                                                                                                       Other. Specify   Credit card
           U      Yes



     Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                              page     3   of 9
Filed 12/26/18                                                                          Case 18-15109                                                                                 Doc 1
     Debtor 1           David                               0.                      Villegas                       Case number (if known)__________________________________________
                        First Name      Middle Name              Last Name




                       Your NONPRIORITY Unsecured Claims - Continuation Page


      After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                                Total claim




    F44
        ] Dignity Health
           Nonprionty Creditors Name
                                                                                               Last 4 digits of account number                   .Q .Q                  $          0.00
                                                                                               When was the debt incurred?
           185 Berry Street, # 300
           Number            Street
                                                                                               As of the date you file, the claim is: Check all that apply.
           San Francisco                                     CA               94107
           City                                              State           ZIP Code          LI   Contingent
                                                                                               LI   Unhiquidated
           Who incurred the debt? Check one.                                                   LI   Disputed
                  Debtor 1 only
           LI     Debtor 2 only                                                                Type of NONPRIORITY unsecured daim:
           LI     Debtor 1 and Debtor 2 only
                                                                                               LI   Student loans
           LI     At least one of the debtors and another
                                                                                               LI   Obligations arising out of a separation agreement or divorce that
                                                                                                    you did not report as priority claims
           LI     Check if this claim is for a community debt
                                                                                               LI   Debts to pension or profit-sharing plans, and other similar debts
           Is the claim subject to offset?                                                          Other. Specify    Statement
           56     No
           LI     Yes




           Memorial Hosoital                                                                   Last 4 digits of account number         0 0 0 0                          $           0.00
           Nonpriority Creditors Name
                                                                                               When was the debt incurred?
           420 34th Street
           Number             Street
                                                                                               As of the date you file, the claim is: Check all that apply.
            Bakersfield                                       CA              93301
           City                                              State           ZIP Code          LI   Contingent
                                                                                               LI   Unliquidated
           Who incurred the debt? Check one.                                                   LI   Disputed
                  Debtor 1 only
           LI     Debtor2 only                                                                 Type of NON PRIORITY unsecured claim:
           LI     Debtor 1 and Debtor 2 only
                                                                                               LI   Student loans
           LI     At least one of the debtors and another
                                                                                               LI   Obligations arising Out of a separation agreement or divorce that
                                                                                                    you did not report as priority claims
           LI     Check if this claim is for a community debt
                                                                                               LI   Debts to pension or profit-sharing plans, and other similar debts
           Is the claim subject to offset?                                                     66   Other. Specify    Statement
                  No
           LI     Yes


                                                                                                                                                                        $           0.00
           Mercy Hospital                                                                      Last 4 digits of account number         0 0 0 0
           Nonpnonty Creditors Name
                                                                                               When was the debt incurred?
           400 Old River Road
           Number             Street
                                                                                               As of the date you file, the claim is: Check all that apply.
            Bakersfield                                          CA           93311
           City                                              State           ZIP Code          LI   Contingent
                                                                                               LI   Unliquidated
           Who incurred the debt? Check one.
                                                                                               LI   Disputed
                  Debtor 1 only
           LI     Debtor 2 only                                                                Type of NONPRIORITY unsecured claim:
           LI     Debtor I and Debtor 2 Only
                                                                                               LI   Student loans
           LI     At least one of the debtors and another
                                                                                               LI   Obligations arising out of a separation agreement or divorce that
                                                                                                    YOU did not report as priority claims
           LI     Check if this claim is for a community debt
                                                                                               LI   Debts to pension or profit-sharing plans, and other similar debts
           Is the claim subject to offset?                                                     66   Other. Specify    Statement
           id No
           LI     Yes




     Official Form 106E/F                                            Schedule ElF: Creditors Who Have Unsecured Claims                                                      page   4 of9
Filed 12/26/18                                                                         Case 18-15109                                                                                     Doc 1
     Debtor I            David                           0.                            Villegas                       Case number (if known)__________________________________________
                         First Name      Middle Name            Last Name




                        Your NONPRIORITY Unsecured Claims - Continuation Page


      After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                               Total claim



    [4.7]                                                                                         Last 4 digits of account number         6 0 0 6
            MOR Furniture For Less                                                                                                                                         $_1,375.00
            Noripnority Creditors Name
                                                                                                  When was the debt incurred?
            1000 Macarthur Blvd.
            Number             Street
                                                                                                  As of the date you file, the claim is: Check all that apply.
            Mahwal                                            NJ             07430
            City                                             State          ZIP Code              LI   Contingent
                                                                                                  LI   Unhiquidated
            Who incurred the debt? Check one.                                                     LI   Disputed
            Vr Debtor 1 only
            LI     Debtor 2 only                                                                  Type   of NONPRIORITY unsecured daim:
            LI     Debtor 1 and Debtor 2 only
                                                                                                  U    Student loans
            LI     At least one of the debtors and another
                                                                                                  U    Obligations arising out of a separation agreement or divorce that
                                                                                                       you did not report as priority claims
            LI     Check if this claim is for a community debt
                                                                                                  U    Debts to pension or profit-sharing plans, and other similar debts
            Is the claim subject to offset?                                                       66   Other. Specify    Charge account
                   No
            LI     Yes




            Pacific Gas & Electnc Co.                                                             Last4 digits of account number         ..Q 0 _Q _Q                       $       0.00
            Nonpnority Creditors Name
                                                                                                  When was the debt incurred?
            P.O. Box997300
            Number             Street
                                                                                                  As of the date you file, the claim is: Check all that apply.
            Sacramento                                        CA             95899
            City                                             State          ZIP Code              LI   Contingent
                                                                                                  LI   Unliquidated
            Who incurred the debt? Check one.                                                     LI   Disputed
                   Debtor 1 Only
            U Debtor 2 Only                                                                       Type   of NON PRIORITY unsecured claim:
            U. Debtor 1 and Debtor 2 only                                                         LI   Student loans
            LI At least one of the debtors and another                                            LI   Obligations arising out of a separation agreement or divorce that
                                                                                                       you did not report as priority claims
            LI     Check if this claim is for a community debt
                                                                                                  LI   Debts to pension or profit-sharing plans, and other similar debts
            Is the claim subject to offset?                                                            Other. Specify    Statement
            61 No
            U Yes

    14.91                                                                                                                                                                  $_0.00•
            Pacific Gas & Electric Co.                                                            Last 4 digits of account number         0 0 0 0
            Nortpnority Creditors Name
                                                                                                  When was the debt incurred?
             1918 H Street
            Number             Street
                                                                                                  As of the date you file, the claim is: Check all that apply.
            Bakersfield                                       CA             93301
            City                                             State          ZIP Code              U    Contingent
                                                                                                  LI   Unliquidated
            Who incurred the debt? Check one.
                                                                                                  LI   Disputed
                   Debtor 1 Only
            LI     Debtor 2 only                                                                  Type of   NON PRIORITY unsecured claim:
            LI     Debtor I and Debtor 2 only
                                                                                                  LI   Student loans
            LI     At least one of the debtors and another
                                                                                                  LI   Obligations arising Out of a separation agreement or divorce that
                                                                                                       you did not report as priority claims
            LI     Check if this claim is for a community debt
                                                                                                  LI   Debts to pension or profit-sharing plans, and other similar debts
            Is the claim subject to offset?                                                       Wf   Other. Specify    Statement
            id No
            U      Yes




     Official Form 106EIF                                            Schedule ElF: Creditors Who Have Unsecured Claims                                                     page   5 of9
Filed 12/26/18                                                                           Case 18-15109                                                                                     Doc 1
     Debtor 1           David                               0.                          Villegas                       Case number (if knrsvn)__________________________________________
                        First Name      Middle Name              Last Name




                       Your NONPRIORITY Unsecured Claims - Continuation Page


     After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                                  Total claim



                                                                                                   Last 4 digits of account number         0 0 0 0
           Sunpower
           Nonpriority Creditors Name
                                                                                                   When was the debt incurred?
           77 Rio Robles
           Number            Street
                                                                                                   As of the date you file, the claim is: Check all that apply.
           San Jose                                          CA               95134
           City                                              State           ZIP Code              U    Contingent
                                                                                                   U    Unliquidated
           Who incurred the debt? Check one.                                                       U    Disputed
                  Debtor I only
           U      Debtor 2 only                                                                    Type   of NON PRIORITY unsecured claim:
           U      Debtor 1 and Debtor 2 only
                                                                                                   U    Student loans
           U      At least one of the debtors and another
                                                                                                   U    Obligations arising Out of a separation agreement or divorce that
                                                                                                        you did not report as priority claims
           U      Check if this claim is for a community debt
                                                                                                   U    Debts to pension or profit-sharing plans, and other similar debts
           Is the claim subject to offset?                                                         61   Other. Specify    PV System at parents home
                  No
           U      Yes




                                                                                                   Last 4 digits of account number         0 0 0 0
           Soarkiets Water
           Nonpnonty Creditor's Name
                                                                                                   When was the debt incurred?
           4500 York Blvd., Bldg. C
           Number             Street
                                                                                                   As of the date you file, the claim is: Check all that apply.
            Los Angeles                                       CA              32896
           City                                              State           ZIP Code              U    Contingent
                                                                                                   U    Unliquidated
           Who incurred the debt? Check one.                                                       U    Disputed
                  Debtor 1 only
           U      Debtor 2 Only                                                                    Type of NONPRIORITY unsecured claim:
           U      Debtor 1 and Debtor 2 Only
                                                                                                   U    Student loans
           U      At least one of the debtors and another
                                                                                                   U    Obligations arising out of a separation agreement or divorce that
                                                                                                        you did not report as priority daims
           U      Check if this claim is for a community debt
                                                                                                   U    Debts to pension or profit-sharing plans, and other similar debts
           Is the claim subject to offset?                                                         66   Other. Specify    Statement
           Qf No
           U      Yes


                                                                                                                                                                                1,130.00
           Synchrony Bank/Chevron                                                                  Last 4 digits of account number          7 0 6 1
           Nonpnonty Creditors Name
                                                                                                   When was the debt incurred?
            P.O. Box 965015
           Number             Street
                                                                                                   As of the date you file, the claim is: Check all that apply.
            Orlando                                              FL           32896
           City                                              State           ZIP Code              U    contingent
                                                                                                   U    Unliquidated
           Who incurred the debt? Check one.                                                       U    Disputed
                  Debtor 1 only
           U      Debtor2 only                                                                     Type of NON PRIORITY unsecured claim:
           U      Debtor 1 and Debtor 2 only
                                                                                                   U    Student loans
           U      At least one of the debtors and another
                                                                                                   U    Obligations arising out of a separation agreement or divorce that
                                                                                                        you did not report as priority claims
           U      Check if this claim is for a community debt
                                                                                                   U    Debts to pension or profit-sharing plans, and other similar debts
           Is the claim subject to offset?                                                         66   Other. Specify    Charcie account
           Wf No
           U Yes



    Official Form 106E/F                                              Schedule ElF: Creditors Who Have Unsecured Claims                                                       page   6 of9
Filed 12/26/18                                                                             Case 18-15109                                                                                    Doc 1
     Debtor 1            David                               0.                           Villegas                       Case number (if known)__________________________________________
                         First Name     Middle Name                Last Name




                        Your NONPRIORITY Unsecured Claims - Continuation Page


      After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                                   Total claim



        1   Synchrony BankJJC Penney
            Nonprionty Creditofs Name
                                                                                                     Last 4 digits of account number         0 0 0 0                          $_1,000.00
                                                                                                     When was the debt incurred?
            P.O. Box965007
            Number            Street
                                                                                                     As of the date you file, the claim is: Check all that apply.
             Orlando                                           FL               32896
            City                                              State            ZIP Code              U    Contingent
                                                                                                     U    Unliquidated
            Who incurred the debt? Check one.                                                        U    Disputed
                   Debtor 1 only
            U      Debtor 2 only                                                                     Type   of NON PRIORITY unsecured claim:
            U      Debtor 1 and Debtor 2 only
                                                                                                     U    Student loans
            U      At least one of the debtors and another                                           U    Obligations arising Out of a separation agreement or divorce that
                                                                                                          you did not report as priority claims
            U      Check if this claim is for a community debt
                                                                                                     U    Debts to pension or profit-sharing plans, and other similar debts
            Is the claim subject to offset?                                                          Qf   Other. Specify    Charge account
                   No
            U      Yes




            Verizon                                                                                  Last 4 digits of account number         0 0 0 0                                   [óII,1
            Nonpnonty Creditors Name
                                                                                                     When was the debt incurred?
            500 Technology Drive # 550
            Number             Street
                                                                                                     As of the date you file, the claim is: Check all that apply.
            Weldon Spring                                         MO            63304
            City                                              State            ZIP Code              LI   Contingent
                                                                                                     U    Unliquidated
            Who incurred the debt? Check one.                                                        U    Disputed
            Vf     Debtor I only
            U      Debtor 2 only                                                                     Type of NON PRIORITY unsecured claim:
            U      Debtor 1 and Debtor 2 only                                                        U    Student loans
            U      At least one of the debtors and another
                                                                                                     U    Obligations arising out of a separation agreement or divorce that
                                                                                                          you did not report as priority claims
            U      Check if this claim is for a community debt
                                                                                                     U    Debts to pension or profit-sharing plans, and other similar debts
            Is the claim subject to offset?                                                               Other. Specify    Statement
                   No
            U      Yes


                                                                                                                                                                                 1,300.00
            Wells Farao Card Services                                                                Last 4 digits of account number         4 4        6 5
            Nonpnonty Creditors Name
                                                                                                     When was the debt incurred?
            P.O. Box 14517
            Number             Street
                                                                                                     As of the date you file, the claim is: Check all that apply.
             Des Moines                                           IA            50306
            City                                              State            ZIP Code              U    Contingent
                                                                                                     U    Unliquidated
            Who incurred the debt? Check one.                                                        U    Disputed
                   Debtor 1 Only
            U      Debtor 2 only                                                                     Type of NONPRIORITY unsecured claim:
            U      Debtor 1 and Debtor 2 only
                                                                                                     U    Student loans
            U      At least one of the debtors and another
                                                                                                     Li   Obligations arising out of a separation agreement or divorce that
                                                                                                          you did not report as priority claims
            Li     Check if this claim is for a community debt
                                                                                                     U    Debts to pension or profit-sharing plans, and other similar debts
            Is the claim subject to offset?                                                          66   Other. Specify    Credit card
            id     No
            U      Yes




     Official Form 106E/F                                              Schedule ElF: Creditors Who Have Unsecured Claims                                                       page   7 of9
Filed 12/26/18                                                                       Case 18-15109                                                                                                   Doc 1
     Debtor 1         David                          0.                             Vifiegas                     Case number
                       First Nanre     Middle Name           Last Name



                      List Others to Be Notified About a Debt That You Already Listed


     5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts I or 2. For
        example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts I or
        2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts I or 2, list the
        additional creditors here. If you do not have additional persons to be notified for any debts in Parts I or 2, do not fill out or submit this page.

            URS Agents, LLC.                                                             On which entry in Part I or Part 2 did you list the original creditor?
           Name

           3675 Crestwood Parkway # 350                                                  Line    .4_ of   (Check one):   U    Part 1: Creditors with Priority Unsecured Claims
           Number            Street                                                                                      91   Dnr,
                                                                                                                              I W S
                                                                                                                                       )
                                                                                                                                      t_.            ,dH, KI       i   if I i.-,nr'.. ,,-,4 C'I,;,,,
                                                                                                                                            51J11V10 flhIIII 1U1I1111%JIILy II IO¼#tIISJ      Iflhl 110




                                                                                         Last 4 digits of account number         0 0 0 0
            Duluth                                   GA             30096
           City                                      State               ZIP Code


                                                                                          On which entry in Part I or Part 2 did you list the original creditor?
           Name

                                                                                          Line       of (Check one):     U    Part 1: Creditors with Priority Unsecured Claims
           Number            Street
                                                                                                                         U    Part 2: Creditors with Nonpriority Unsecured
                                                                                          Claims

                                                                                          Last 4 digits of account number - -
           City                                      State               ZIP Code                                                             -      -




                                                                                          On which entry in Part I or Part 2 did you list the original creditor?
           Name

                                                                                          Line        of (Check one):    U    Part 1: Creditors with Priority Unsecured Claims
           Number             Street
                                                                                                                         U    Part 2: Creditors with Nonpriority Unsecured
                                                                                          Claims

                                                                                          Last 4 digits of account number - - -
                                                     State               ZIP Code

                                                                                          On which entry in Part I or Part 2 did you list the original creditor?

                                                                                          Line        of (Check one):    U    Part 1: Creditors with Priority Unsecured Claims
           Number             Street
                                                                                                                         U    Part 2: Creditors with Nonpriority Unsecured
                                                                                          Claims

                                                                                          Last 4 digits of account number - - - -
           City                                      State               ZIP Code


                                                                                          On which entry in Part I or Part 2 did you list the original creditor?
           Name

                                                                                          Line        of (Check one):    U    Part 1: Creditors with Priority Unsecured Claims
           Number             Street                                                                                     U    Part 2: Creditors with Nonpriority Unsecured
                                                                                          Claims

                                                                                          Last 4 digits of account number - - - -
           City                                      State               ZIP Code

                                                                                          On which entry in Part I or Part 2 did you list the original creditor?
           Name

                                                                                          Line        of (Check one):    U    Part 1: Creditors with Priority Unsecured Claims
           Number             Stmet
                                                                                                                         U    Part 2: Creditors with Nonpriority Unsecured
                                                                                          Claims

                                                                                          Last 4 digits of account number - - -
           City   -                                  State               ZIPCode


                                                                                          On which entry in Part I or Part 2 did you list the original creditor?

                                                                                          Line        of (Check one):    U    Part 1: Creditors with Priority Unsecured Claims
           Number             Street
                                                                                                                         U    Part 2: Creditors with Nonpriority Unsecured
                                                                                          Claims


           City                                      State               ZIP Code
                                                                                          Last 4 digits of account number



    Official Form 106E/F                                       Schedule ElF: Creditors Who Have Unsecured Claims                                                                    page8 of9
Filed 12/26/18                                                           Case 18-15109                                                                  Doc 1
     Debtor I     David                          0.                   viflegas                      Case number (if
                  First Neme     Middle Name          Last Name




                Add the Amounts for Each Type of Unsecured Claim



     6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
        Add the amounts for each type of unsecured claim.




                                                                                              Total claim


     Total claims 6a. Domestic support obligations
     from Parti
                   6b. Taxes and certain other debts you owe the
                       government

                   Sc. Claims for death or personal injury while you were
                       intoxicated                                                  Sc.
                                                                                               $_____________________

                   6d. Other. Add all other priority unsecured claims.
                       Write that amount here.                                      6d.




                    Be. Total. Add lines 6a through 6d.                             6e.I
                                                                                                                      0.00
                                                                                          I    $


                                                                                               Total claim


     Total claims 6f. Student loans

     from Part 2 6g. Obligations arising out of a separation agreement
       •              or divorce that you did not report as priority
                      claims                                                                    $______________________
                         Debts to pension or profit-sharing plans, and other
        •                similar debts


                       Other. Add all other nonnrioritv unsecured claims
                    - Writethatarnourithere.                                        6i.       +$              16,030.00


                    6j. Total. Add lines 6f through Si.                             6j.
                                                                                                $_16,030.00




     Official Form 106E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                     page 9 of9
Filed 12/26/18                                                                 Case 18-15109                                                                           Doc 1



      Debtor               David                       0.                      VitIegas
                           First Name             Middle Name                  Last Name

      Debtor 2
      (Spouse If filing)   First Name             Middle Name                  Last Name


      United States Bankruptcy Court for the: Eastern District of California

      Case number
       (If known)                                                                                                                               U Check if this is an
                                                                                                                                                   amended filing


     Official Form I 06G
     ScduIe G: Executory Contracts and Unexpired Leases                                                                                                      12115
     Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
     information. If more space is needed, copy the additional page, fill it out number the entries, and attach it to this page. On the top of any
     additional pages, write your name and case number (if known).


            Do you have any executory contracts or unexpired leases?
            U    No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
            10   Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form I 06A/B).

            List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
            example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
            unexpired leases.



            Person or company with whom you have the contract or lease                                State what the contract or lease is for


        j    Sunpower                                                                          PV System located at my parents house.
            Name                                                                               3813 De Ette Avenue
             77 Rio Robles                                                                     Bakersfield, CA 93313
            Number            Street
             San Jose                       CA           95134
            City                              State      ZIP Code

     2211
            Name

            Number            Street

            City                              State      ZIP Code
     23
      Li
            Name

            Number             Street

            City                              State      ZIP Code
     2.41
            Name

             Number            Street

            City                              State      ZIP Code


             Name

             Number            Street

            City                              State      ZIP Code


     Official Form 106G                               Schedule G: Executory Contracts and Unexpired Leases                                            page 1 of   2_
Filed 12/26/18                                                                 Case 18-15109                                                                            Doc 1

     Debtor 1           David                               0.                Villegas                  Case number (if known)_______________________________________
                        Fkst Name     Midd'e Name                 Last Name



                        Additional Page If You Have More Contracts or Leases

            Person or company with whom you have the contract or lease                               What the contract or lease is for



            Name


            Number           Street


            City                                    State        ZIP Code



            Name


            Number           Street


            City                                    State        ZIP Code




            Name    -




            Number           Street


            City                                    State        ZIP Code


      2j_________

            Name


            Number           Street


            City                                    State        ZIP Code




            Name


            Number           Street


            City.                                   State        ZIP Code

      2j______________________

            Name


            Number           Street


            City                                    State        ZIP Code


      2.1

            Name


            Number           Street


            City                                    State        ZIP Code

      2j__________________

            Name


            Number           Street


            City                                    State        ZIP Code



    Official Form 106G                                      Schedule G: Executory Contracts and Unexpired Leases                                     page . of L.
Filed 12/26/18                                                                        Case 18-15109                                                                           Doc 1



      Debtor I           David                                0.                      ViHegas
                         First Name                       Midee Name                  Last Name

      Debtor 2
      (Spouse, if filing) FimtName                        Midde Name                  Last Name


      United States Bankruptcy Court for the:        Eastern District of California

      Case number
       (If known)
                                                                                                                                                       U   Check if this is an
                                                                                                                                                           amended filing

     Official Form I 06H
     Schedule H: Your Codebtors                                                                                                                                       12115
     Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
     are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
     and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
     case number (if known). Answer eveiy question.

      I. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
                 No
              Yes
           Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
           Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
           56    No. Go to line 3.
           U     Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                       No
                 U Yes. In which community state or temtory did you live?                                    . Fill in the name and current address of that person.



                       Name of your spouse, former spouse, or legal equivalent



                       Number            Street



                       City                                            State                      ZIP Cole


          In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
           shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
           ScheduleD (Official Form 106D), Schedule E/F (Official Form 106E!F), or Schedule G (Official Form beG). Use ScheduleD,
           Schedule ElF, or Schedule G to fill out Column 2.

             Column 1: Your codebtor                                                                                 Column 2: The creditor to whom you owe the debt

                                                                                                                     Check all schedules that apply:

                David Villegas                                                                                        U Schedule 0, line
              Name
                3813 De Ette Avenue                                                                                   U Schedule ElF, line 4.10
              Number            Street                                                                                U Schedule 0, line 2.1
                Bakersfield                                                CA                     93313


                                                                                                                      U Schedule 0, line -
                Name
                                                                                                                      U Schedule E/F, line
                Number          Street                                                                                U Schedule G, line -



                                                                                                                      U Schedule D, line -
                Name
                                                                                                                      U Schedule ElF, line
                Number          Street                                                                                U Schedule G, line -



     Official Form 106H                                                          Schedule H: Your Codebtors                                                  page 1 of2
Filed 12/26/18                                                                  Case 18-15109                                                                    Doc 1
     Debtor I        David                              0.                    Villegas                  Case number (if CSOWS)___________________________
                     First   Name       Middle   Name        Last Name

                     Additional Page to List More Codebtors

           Column 1: Your codebtor                                                                          Column 2: The creditor to whom you owe the debt

                                                                                                            Check all schedules that apply:


                                                                                                             U   Schedule D, line
            Name
                                                                                                             U   Schedule ElF, line

            Number            stt                                                                            U   Schedule G, line ______




                                                                                                             U   Schedule D, line   ______
            Name
                                                                                                             U   Schedule E/F, line

            Number            Street                                                                         U   Schedule G, line




     n      C
            Name
                                                                  State                    ZIP Code


                                                                                                             U
                                                                                                             U
                                                                                                                 Schedule D, line
                                                                                                                 Schedule E/F, line

            Number            Street                                                                         U   Schedule G, line


            City                                                  State                    ZIP Code

     131
     L_I                                                                                                     U Schedule D, line
            Name
                                                                                                             U   Schedule E/F, line

            Number             Street                                                                        U   Schedule G, line ______


            Cay                                                    State                   ZIP Code

     FT                                                                                                      U Schedule D, line ______

     1      Name



            Number             Street
                                                                                                             U Schedule E/F, line
                                                                                                             U Schedule G, line

                ay                                                 State                   ZIP Code


                                                                                                             U   Schedule 0, line
            Name
                                                                                                             U   Schedule ElF, line

            Number             Street                                                                        U   Schedule G, line




            Name
                                                                                                             U   Schedule D, line -
                                                                                                             U   Schedule E/F, line

            Number             Street                                                                        U   Schedule G, line -


                                                                                           LII

            Name
                                                                                                             U   Schedule 0, line
                                                                                                             U   Schedule E/F, line

            Number             Street                                                                        U   Schedule G, line   ______



                                                                   State




    Official Form 1 06H                                                    Schedule H: Your Codebtors                                         page   a_. of L.
Filed 12/26/18                                                                  Case 18-15109                                                                       Doc 1




       Debtor I              David                    0.                        Villegas
                             Fist Name             Middle Name                  Last Name

       Debtor 2
       (Spouse, if filing)   Fhst Name             Middle Name                  Last Name


       United States Bankruptcy Court for the: Eastern District of California

       Case number                                                                                             Check if this is:
       (If known)
                                                                                                               U An amended filing
                                                                                                               U A supplement showing postpetition chapter 13
                                                                                                                     income as of the following date:
     Official Form 1061
     Schedule I: Your Income                                                                                                                                12115
     Be as complete and accurate as possible. If two married people are filing together (Debtor I and Debtor 2), both are equally responsible for
     supplying correct information. if you are married and not filing Jointly, and your spouse Is living with you, include information about your spouse.
     If you are separated and your spouse Is not filing with you, do not include information about your spouse. If more space Is needed, attach a
     separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


     •r                      Describe Employment


      I.   Fill In your employment
           information.                                                               Debtor I                                  Debtor 2 or non-filIng spouse

           If you have more than one job,
           attach a separate page with
           information about additional         Employment status                  Id Employed                                  U Employed
           employers.                                                              U Not employed                               U Not employed
           Include part-time, seasonal, or
           self-employed work.
                                                                                  Shop Supervisor
           Occupation may include student Occupation
           or homemaker, if it applies.
                                                Employer's name                   Tuff Shed

                                                 Employer's address               2917 Unicorn Rd.
                                                                                   Number Street                              Number Street




                                                                                  Bakersfield,          CA      93308
                                                                                   City             State ZIP Code            City                 State ZIP Code

                                                 How long employed there?              5 Months                                 5 Months


                             Give Details About Monthly Income

           Estimate monthly Income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
           spouse unless you are separated.
           If you or your non_filing spouse have more than one employer, combine the information for all employers for that person on the lines
           below. If you need more space, attach a separate sheet to this form.

                                                                                                           For Debtor I        For Debtor 2 or
                                                                                                                               non-filing spouse
            List monthly gross wages, salary, and commissions (before all payroll
            deductions). if not paid monthly, calculate what the monthly wage would be.                   $ 3,225.66                       0.00
                                                                                                                                   $
            Estimate and list monthly overtime pay.                                                    +$            0.00     +s           0.00


            Calculate gross income. Add line 2 + line 3.                                                  $ 3,225.66               $       0.00



     Official Form 1061                                                    Schedule I: Your Income                                                       page I
Filed 12/26/18                                                                                            Case 18-15109                                                                                         Doc 1

     Debtor 1           David                                       0.                                 Villegas                                 Case number (if known)_______________________________________
                        Foot Name             MNdIe Name                     Last Name



                                                                                                                                               For Debtor I         For Debtor 2 or
                                                                                                                                                                    no   Ii,   p

            Copyline4here           ...............................................................................................   44.      $         0.00          $           0.00

      5.    List all payroll deductions:

                 Tax, Medicare, and Social Security deductions                                                                                 $  591.25               $   0.00
                 Mandatory contributions for retirement plans                                                                                  $    0.00               $   0.00
                 Voluntary contributions for retirement plans                                                                                  $    0.00               $   0.00
                 Required repayments of retirement fund loans                                                                                  $_0.00                  $_0.00
                 Insurance                                                                                                                     $_58.75                 $_0.00
                 Domestic support obligations                                                                                                  $    0.00               $   0.00
                 Union dues                                                                                                                    $    0.00               $   0.00
                 Other deductions. Specify:                                                                                                   +$         0.00       +$             0.00
       8.    Add the payroll deductions. Add lines 5a                          + 5b + Sc + Sd + 5e +5f + 5g + 5h.                       6.     $         0.00          $           0.00

       7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                                                        7.     $   2,575.66            $           0.00

      8.     List all other income regularly received:
                 Net income from rentil property and from operating a business,
                 profession, or farm
                 Attach a statement for each property and business showing gross
                 receipts, ordinary and necessary business expenses, and the total                                                                       0_00          _
                                                                                                                                                                       $0_00
                 monthly net income.                                                                                                   8a.
                 Interest and dividends                                                                                                8b.     $         0.00          $           0.00
             Bc. Family support payments that you, a non-filing spouse, or a dependent
                 regularly receive
                 Include alimony, spousal support, child support, maintenance, divorce                                                                   0.00                      0.00
                 settlement, and property settlement.                                  8c.
                                                                                                                                               $                       $
                 Unemployment compensation                                                                                             8d.     $_0.00                  $_0.00
                 Social Security                                                                                                       8e.     $_0.00                  $_0.00
              Sf. Other government assistance that you regularly receive
                  Include cash assistance and the value (if known) of any non-cash assistance
                  that you receive, such as food stamps (benefits under the Supplemental
                  Nutrition AssistanceProgram) or housing subsidies.
                  Specify:1                                                                  8f.                                               $_106.00                 $_0.00
                 Pension or retirement Income                                                                                           8g.    $         0.00           $          0.00
                 Other monthly income. Specify:                                                                                         8h.   + $_0.00               + $_0.00
       9.    Add all other income. Add lines 8a +8b                          + 8c + Bd + 8e + 8f +8g + 8h.                              9. j$_106.00 1             I_$_0.00
                                                                                                                                          _
      10. Calculate monthly income. Add line 7 + line 9.                                                                                        2_681_66 + I           0_00 _ - ls__? ,681.66
          Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                                    10.    $_                    $                _______
                                                                                                                                                                     __
      11. State all other regular contributions to the expenses that you list in Schedule J.
             Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
             friends or relatives.
             Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
             Specify:   CaiFresh                                                                                                                                                        11. + $_0.00
      12. Add the amount .in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
             Write that amount on the Surnma,y of Your Assets and Liabilities and Ceilain Statistical Information, if it applies                                                        12.     $_2,681.66
                                                                                                                                                                                                Combined
                                                                                                                                                                                                monthly income
           13. Do you expect an increase or decrease within the year after you file this form?
               56 No.
               U Yes. Explain:

     Official Form 1061                                                                                Schedule I: Your Income                                                                    page 2
Filed 12/26/18                                                                        Case 18-15109                                                                                   Doc 1




          Debtor I              David                         0.                      Villegas
                                FIrst Name               MIddle Name                  Last Name                         Check if this is:
          Debtor 2
          (Spouse, if filing)   FIrst Name               MIddle Name                  test Name
                                                                                                                        U An amended filing
                                                                                                                        U A supplement showing postpetition chapter 13
          United States Bankruptcy Court for the:    Eastern District of California                                         expenses as of the following date:
          Case number                                                                                                       MM I DID! YY'(Y
          (If known)



     Official Form I 06J
     Schedule J: Your Expenses                                                                                                                                                12115

     Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
     information. If more space is needed, attach another sheet to this form. On the top of any additional pages write your name and case number
     (if known). Answer every question.

                                Describe Your Household

     1.    Is this a Joint case?

           t1    No. Gotoline2.
           U     Yes. Does Debtor 2 live In a separate household?

                         U      No
                         U      Yes. Debtor 2 must file Official Form I 06J-2, Expenses for Separate Household of Debtor 2.

           Do you have dependents?                      U    No                                       Dependent's relationship to                 Dependent's     Does dependent live
           Do not list Debtor I and                     L'   Yes. Fill out this information for Debtor I or Debtor 2                              age             with you?
           Debtor 2.                                         each dependent..........................
                                                                                                                                                                  UNo
           Do not state the dependents'                                                             Partner (years)                               24
           names.                                                                                                                                                 66 Yes

                                                                                                    Daughter (months)                             9               UN0
                                                                                                                                                                  iif   Yes
                                                                                                                                                                  UNo
                                                                                                    Daughter (years)                              4
                                                                                                                                                                    Yes
                                                                                                                                                                        No
                                                                                                                                                                  U     Yes
                                                                                                                                                                  UN0
                                                                                                                                                                  U Yes
           Do your expenses include
                                                             No
           expenses of people other than
           yourself and your dependents?                U    Yes

     IFThW                Estimate Your Ongoing Monthly Expenses

      Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
      expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
      applicable date.
      Include expenses paid for with non-cash government assistance if you know the value of
      such assistance and have included it on Schedule!: Your Income (Official Form 1081.)                                                             Your expenses

          4. The rental or home ownership expenses for your residence. include first mortgage payments and
                                                                                                                                                       $           1,195.00
              any rent for the ground or lot.                                                                                               4.

              If not included in line 4:
                      Real estate taxes                                                                                                                $                  0.00
                      Property, homeowner's, or renter's insurance                                                                                     $                  0.00
              45.     Home maintenance, repair, and upkeep expenses                                                                         45.        $                  0.00
              4d.     Homeowner's association or condominium dues                                                                           4d.        $                  0.00

    Official Form 106J                                                       Schedule J: Your Expenses                                                                    page 1
Filed 12/26/18                                                                     Case 18-15109                                                                           Doc 1


     Debtor 1              David
                           FiTSI   Name        Mldd(e Name
                                                             0.
                                                                  Laat Name
                                                                                  Villegas                    case number   (if known(_________________________

                                                                                                                                              Your expenses

                                                                                                                                                               0.00
                                                                                                                                              $_____________________
      5.       Additional mortgage payments for your residence, such as home equity loans                                          5.


      6. UtilIties:

               6a.    Electricity, heat, natural gas                                                                               8a.        $               200.00
               Sb.    Water, sewer, garbage collection                                                                             6b.        $                 0.00
               Sc.    Telephone, cell phone, Internet, satellite, and cable services                                               Sc.        $               346.00
               6<1.   Other. Specify:                                                                                              6<1.       $                 0.00
      7.       Food and housekeeping supplies                                                                                      7.         $               400.00

      8.       Childcare and chIldren's education costs                                                                            5          $_0.00
           .   Clothing, laundry, and dry cleaning                                                                                 9.         $_100.00
     10.       Personal care products and services                                                                                 10.        $_40.00
     11.       Medical and dental expenses                                                                                                    $_25.00
               Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                                   12.
                                                                                                                                              $_100_00
               Do not include car payments.

     13.       Entertainment, clubs, recreation, newspapers, magazines, and books                                                  13.        $_100.00
     14.       Charitable contributions and religious donations                                                                    14.        $_0.00
     15.       Insurance.
               Do not include insurance deducted from your pay or induded in lines 4 or 20.

                iSa. Life insurance                                                                                                iSa.       $_ 0.00
                      Health insurance                                                                                             15b.       $_ 0.00
                      Vehicle insurance                                                                                            ic         $_169.00
                15<1. Other insurance. Specify:                                                                                    15<1.      $_0.00

     16.       Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                Specify:                                                                                                           16.        $_0.00
     17.       Installment or lease payments:
                17a. Car payments for Vehicle            1                                                                         17a.       $_0.00
                17b. Car payments for Vehide 2                                                                                                $_0.00
                      Other. Specify:                                                                                              17c.       $_0.00
                17d. Other. Specify:                                                                                               17d.       $_0.00
     18.       Your payments of alimony, maintenance, and support that you did not report as deducted from
               your pay on line 5, Schedule I, Your Income (Official Form 1061).                                                        18.
                                                                                                                                              $_0.00
     19.       Other payments             you make to support others who do not live with you.
               Specify:                                                                                                                       $_0.00
                Other real property expenses not included in lInes            4 or 5 of this form or on Schedule I: Your Income.
                20a. Mortgages on other property                                                                                   20a.       $_0.00
                20b. Real estate taxes                                                                                                        $_0.00
                      Property, homeowner's, or renter's insurance                                                                 20c.       $_0.00
                20<1. Maintenance, repair, and upkeep expenses                                                                     20<1.      $_0.00
                20e. Homeowner's association or condominium dues                                                                   20e.       $_0.00


     Official Form 106J                                                       Schedule   J: Your Expenses                                                       page   2
Filed 12/26/18                                                           Case 18-15109                                                                            Doc 1


     Debtor I       David                         0.                    Villegas                  Case number (if known)_______________________________________
                     Fkst Name     Middle Name         Last Name




    21. Other. Specify:                                                                                              21.    +$                     0.00


    22. Calculate your monthly expenses.

                Add lines 4 through 21.                                                                                      $                2,675.00
                Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                              $______________________

                Add line 22a and 22b. The result is your monthly expenses.                                                   $                2,675.00


     23. Calculate your monthly net income.
                                                                                                                              $               2,681.66
                Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

                Copy your monthly expenses from line 22c above.                                                             -$                2,675.00

                Subtract your monthly expenses from your monthly income.
                                                                                                                              $                     6.66
                The result is your monthly net income.




     24. Do you expect an increase or decrease in your expenses within the year after you file this form?

         For example, do you expect to finish paying for your car loan within the year or do you expect your
         mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

            No.
        U   Yes.       Explain here:




     Official Form 106J                                            Schedule J: Your Expenses                                                        page 3
Filed 12/26/18                                                                   Case 18-15109                                                                                       Doc 1



    Debtor I          David                        0.                        Villegas
                       FSsj Name                Middle Name                  Last Name

    Debtor 2
    (Spouse, if filing) FirstName               Middle Name                  Last Name


    United States Bankruptcy Court for the: Eastern District of California
    Case number
    (If known)
                                                                                                                                                             U Check if this is an
                                                                                                                                                                 amended filing



      Official Form I O6Dec
      Declaration About an Individual Debtor's Schedules                                                                                                                  12115


      If two married people are filing together, both are equally responsible for supplying correct Information.

      You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
      obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
      years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                        Sign Below



            Did you pay or agree to pay someone who Is NOT an attorney to help you fill out bankruptcy forms?

                 No
            U    Yes. Name of person                                                                 .   Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                                         Signature (Official Form 119).




            Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
            that they are true and correct




         x5l;nWr                          ~
                                                                         ic
                                                                                 Signature of Debtor 2


               Data                                                              Date
                      MMI DO        I   'YYYY                                            MM! DO i   rrv




       Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
Filed 12/26/18                                                                      Case 18-15109                                                                        Doc 1




       Debtor 1              David                         0.                       Vitlegas
                             First Name                Mst,fle Name                 Leat Name

       Debtor 2
       (Spouse, if filing)   First Name                Midee Name                   Last Name   I

       United States Bankruptcy Court for the:     Eastern District of California

       Case number
       (If known)                                                                                                                              U   Check if this is an
                                                                                                                                                   amended filing



     Official Form 107
     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                             04116

     Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
     information. If more space IS needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
     number (If known). Answer every question.


     •fl                Give Details About Your Marital Status and Where You Lived Before


            What Is your current marital status?

             U Marned
             f1 Not married
            During the last 3 years, have you lived anywhere other than where you live now?
            UNo
              Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

                    Debtor 1:                                               Dates Debtor I          Debtor 2:                                        Dates Debtor 2
                                                                            lived there                                                              lived there

                                                                                                    U    Same as Debtor 1                           U   Same as Debtor I

                       937 Mendocino Ct.                                   From 02/02/2018                                                              From
                      Number              Street                                                         Number Street
                                                                           To        06/01/2018                                                         To


                       Lathrop                      CA 95330
                      City                          State ZIP Code                                       City               State ZIP Code


                                                                                                    U    Same as Debtor I                           U   Same as Debtor 1

                      6623 Graham Ave., # D                                 From 05/01/2014                                                             From
                      Number              Street                                                         Number Street
                                                                            To 02/01/2018                                                               To


                      Newark                       CA 94560                                          -
                      City                          State ZIP Code                                       City               State   ZIP Code


       3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
            states and tenitones include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
             UNo
                  Yes. Make sure you fill out Schedule H. Your Codebtors (Official Form 106H).



     •iiu Explain the Sources of Your Income

    Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 1
Filed 12/26/18                                                                     Case 18-15109                                                                                  Doc 1


     Debtor   1        David                            0.                        Villegas                          Case number
                       Fj,st Name      Middle Name           l.asl Name




          Did you have any income from employment or from operating a business during this year or the two previous calendar years?
          Fill in the total amount of income you received from all jobs and all businesses, induding part-time activities.
          If you are filing a joint case and you have income that you receive together, list it only once under Debtor I.

          UN0
          66 Yes. Fill in the details.

                                                                     Debtor I                                                 Debtor 2

                                                                     Sources of income           Gross Income                 Sources of Income          Gross income
                                                                     Check all that apply.       (before deductions and       Check all that apply.      (before deductions and
                                                                                                 exclusions)                                             exclusions)

                                                                          Wages, commissions,                                     wages, commissions,
                  From January 1 of current year until                                               $        24,094.00. U        bonuses, tips          $___________________
                  the date you filed for bankruptcy:
                                                                     U    Operating a business                           U        Operating a business


                   For last calendar year
                                                                          Wages, commissions,                                 U   Wages, commissions,
                                                                          bonuses, tips              $        46,066.00           bonuses, tips          $_______________
                   (January 1 to December 31,2017 _)              U       Operating a business                  .             U   Operating a business
                                             vyvy


                   .For the calendar year before that
                                                                     id   Wages, commissions,                                 U   Wages, commissions.
                                                                          bonuses, tips                                           bonuses, tips
                                                                                                     $        29,986.00                                  $_______________
                   (January ito December 31,2016                 )U       Operating a business                                U   Operating a business
                                                     YYYY



          DId you receive any other income during this year or the two previous calendar years?
          Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
          unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
          gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

          List each source and the gross income from each source separately. Do not include income that you listed in line 4.

                  No
                  Yes. Fill in the details.
                                                                     Debtor I                                                  Debtor 2

                                                                     Sources of income               Gross Income from         Sources of Income         Gross Income from
                                                                     Describe below.                 each source               Describe below,           each source
                                                                                                     (before deductions and                              (before deductions and
                                                                                                     exclusions)                                         exclusions)



                    From January 1 of current year until                                         $                                                       $
                    the date you filed for bankruptcy:                                           $                                                       $
                                                                                                 $                                                       $


                    For last calendar year                                                       $

                    (January Ito December 31,20 17                                               $                                                       $
                                                     yYYY
                                                                                                                                                         $



                    For the calendar year before that                                            $                                                       $
                    (January ito December 31,2016                                                $
                                                     YYYY
                                                                                                 $                                                       $




     Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 2
Filed 12/26/18                                                                        Case 18-15109                                                                       Doc 1


     Debtor I      David                                 0.                          Villegas                  Case numr   snown)____________________________
                    First Name         Middle Name               Last Name




     •n            list Certain Payments You Made Before You Piled for Bankruptcy



      a. Are either Debtor l's or Debtor 2's debts primarily consumer debts?

          U     No. Neither Debtor I nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                    "incurred by an individual primarily for.a personal, family, or household purpose.'
                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6425 or more?

                    U     No. Go to line 7.

                    U    Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
                              total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                              child support and alimony. Also, do not indude payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4101/19 and every 3 years after that for cases filed on or after the date of adjustment.

           Id   Yes. Debtor I or Debtor 2 or both have primarily consumer debts.
                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     U    No. Go to line 7.

                     i1 Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                                   creditor. Do not include payments for domestic support obligations, such as child support and
                                   alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                                     Dates of    Total amount paid     Amount you still owe    Was this payment for...
                                                                                     payment


                             Heritage Professional Mgt.                             09101/2018 $            3,585.00 $              1,195.00   U   Mortgage
                            Creditors Name
                                                                                                                                               U   Car
                            600 Hosking Avenue                                      10/01/2018
                            Number Street                                                                                                      U   Credit card

                                                                                    11/01/2018                                                 U   Loan repayment

                                                                                                                                               U   Suppliers or vendors
                            Bakersfield               CA 93307                                                                                             Rent
                                                                      ZIP Code                                                                     Other
                            City                     State



                                                                                                                      $                        U   Mortgage
                            Credsors Name
                                                                                                                                               U Car
                            Number Street
                                                                                                                                               U Credrtcard
                                                                                                                                                                           a
                                                                                                                                               U Loan repayment
                                                                                                                                               U Suppliers or vendors
                            City                     State            ZIP    Code
                                                                                                                                               U Other________



                                                                                                                                               U Mortgage
                            Cisdtors Name
                                                                                                                                               U Car
                             Number Street                                                                                                     U Credit card
                                                                                                                                               U Loan repayment
                                                                                                                                               U Suppliers or vendors
                             City State ZIP Code
                                                                                                                                               U Other________




     Official Form 107                                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                           page 3
Filed 12/26/18                                                             Case 18-15109                                                                         Doc 1


     Debtor 1       David                            0.                   Villegas                     Case number   it known)___________________________
                         Flmt Name   Middle Name           Last Name




          Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
          Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
          corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
          agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. lndude payments for domestic support obligations,
          such as child support and alimony.

           56   No
           U    Yes. List all payments to an insider.
                                                                          Dates of     Total amount      Amount you still Reason for this payment
                                                                          payment      paid              owe



                 Insiders Name



                 Number Street




                 City                              State   ZIP Code




                  Insider's Name


                  Number Street




                  City                             State   ZIP Code



          Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
          an insider?
          Include payments on debts guaranteed or cosigned by an insider.

                No
           U    Yes. List all payments that benefited aninsider.
                                                                         Dates of       Total amount      Amount you still Reason for this payment
                                                                         payment        paid              owe               Include creditor's name


                  Insider's Name



                  Number Street




                  City                             State   ZIP Code




                  Insider's Name



                  Number Street




                  City                             State    ZIP Code




      Official Fom, 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 4
Filed 12/26/18                                                                    Case 18-15109                                                                              Doc 1


     Debtor 1       David
                     Fimt Name           Midee Name
                                                        0.
                                                              Last Name
                                                                                Vitlegas                        Case number   nown____________________________

                    Identify Leai Actions, Repossesslons, and Foreclosures
          Within 1 year before you flied for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
          List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
          and contract disputes.

                No
          U     Yes. Fill in the details.
                                                                     Nature of the case                   Court or agency                               Status of the case



                 Case title                                                                              Court Name
                                                                                                                                                        U   Pending

                                                                                                                                                        U   On appeal

                                                                                                         Number Street                                  U   Concluded

                 Case number
                                                                                                         City                    State   ZIP Code




                 Case title                                                                              Court Name
                                                                                                                                                        U   Pending

                                                                                                                                                        U   On appeal

                                                                                                         Number Street                                  U   Concluded

                 Case number
                                                                                                         City                    State   ZIP Code



           Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
           Check all that apply and fill in the details below.

                No. Goto line 11.
           U    Yes. Fill in the information below.

                                                                               Descilbe the property                                      Date      Value of the property



                                                                                                                                                    $
                       Creditors Name



                       Number Street                                           Explain what happened

                                                                                U   Property was repossessed.
                                                                                U   Property was foredosed.
                                                                                U   Property was garnished.
                       City                   -       State   ZIP Code          U   Property was attached, seized, or levied.

                                                                               Descilbe the property                                      Date       Value of the propert




                       Creditor's Name



                       Number Street
                                                                                Explain what happened


                                                                                U   Property was repossessed.
                                                                                U    Property was foreclosed.

                       City                           State   ZIP Code
                                                                                U    Property was gamished.
                                                                                U    Property was attached, seized, or levied.



      Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 5
Filed 12/26/18                                                                         Case 18-15109                                                                       Doc 1


     Debtor 1           David                            0.                          Viflegas                      Case number irsnors,)_____________________________
                        First Name    Midde Name               Last Name




          Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
          accounts or refuse to make a payment because you owed a debt?
          id    No
                Yes. Fill in the details.

                                                                           Describe the action the creditor took                      Date action      Amount
                                                                                                                                      was taken
                Creditors Name                                             -



                Number Street




                City                            State   ZIP Code       Last 4 digits of account number: XXXX—_ - - -


          Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
          creditors, a court-appointed receiver, a custodian, or another official?
                No
           C]   Yes

                        List Certain Gifts and Contributions


          Within 2 years before you flied for bankruptcy, did you give any gifts with a total value of more than $600 per person?
                No
                Yes. Fill in the details for each gift.

                  Gifts with a total value of more than $600               Describe the gifts                                         Dates you gave      Value
                  per person                                                                                                          the gifts



                                                                                                                                                        $_____
                Person to Whom You Gave the Girt




                Number Street



                City                            State ZIP Code

                 Person's relationship to you


                Gifts with a total value of more than $600                 Describe the gifts                                         Dates you gave     Value
                per person                                                                                                            the gifts



                 Person to Whom You Gave the Gift




                 Number Street



                 City                           State   ZIP Code


                 Person's relationship to you



      Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 6
Filed 12/26/18                                                                          Case 18-15109                                                                                   Doc 1


     Debtor 1          David                            0.                            VilIegas                         Case number (irksome)____________________________
                         First Name      MidiSe Name          i.ast Name




       14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

                No
          U Yes. Fill in the details for each gift or contribution.

                 Gifts or contributions to charities                  Describe what you contributed                                                 Date you        Value
                 that total more than $600                                                                                                          contributed



                                                                                                                                                                    $
                Charity's Name


                                                                                                                                                                    $



                Number Street




                City             State     ZIP Code




                          List Certain Losses


           Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
           disaster, or gambling?

           Uf No
           U    Yes. Fill in the details.

                  Describe the property you lost and                       Describe any insurance coverage for the loss                             Date of your    Value of property
                  how the loss occurred                                                                                              .              loss            lost
                                                                           Include the amount that insurance has paid. List pending Insurance
                                                                           daims on line 33 of Schedule  A/B: Property.




                       List Certain Payments or Transfers

           Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
           you consulted about seeking bankruptcy or preparing a bankruptcy petition?
           Indude any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           UNO
                Yes. Fill in the details.

                                                                           Description and value of any property transferred                        Date payment or Amount of payment
                  www.debtorcc.org                                                                                                                  transfer was
                  Person Who Was Paid                                  ..                                                                           made
                                                                       Certificate of counseling                                                I
                  Number street                                        $14.95                                                                       11/20/2018      $           14.95


                                                                                                                                                                     $

                  City                         State   ZIP Code



                  Email or website address


                  Person Who Made the Payment, it Not You



      Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                              page 7
Filed 12/26/18                                                                            Case 18-15109                                                                               Doc 1


     Debtor 1           David                           0.                              Villegas                       Case number (lknown)_____________________________
                         First Name     Midrfe Name              t.ast Name




                                                                          Description and value of any property transferred                   Date payment or    Amount of
                                                                                                                                              transfer was made payment


                 Person Who Was Paid


                 Number Street




                 City                        State    ZIP Code




                  Email or website address


                  Person Who Made the Payment, if Not You


       11.   Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
             promised to help you deal with your creditors or to make payments to your creditors?
             Do not include any payment or transfer that you listed on line 16.

             56 No
             U Yes. Fill in the details.
                                                                              Description and value of any property transferred                Date payment or Amount of payment
                                                                                                                                               transfer was
                                                                                                                                               made
                  Person Who Was Paid


                  _____________                                                                                                              • ____                  $_____
                  Number Street


                                                                                                                                             • ____ $_____
                  City                        State   ZIP Code

       18.   WithIn 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
             transferred in the ordinary course of your business or financial affairs?
             Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
             Do not include gifts and transfers that you have already listed on this statement.
                 No
             U   Yes. Fill in the details.
                                                                              Description and value of property         Describe any property or payments received    Date transfer
                                                                              transferred                               or debts paid in exchange                     was made

                  Person Who Received Transfer


                  Number Street




                  City                        State   ZIP Code


                  Person's relationship to you


                  Person Who Received Transfer


                  Number Street




                  City                        State   ZIPCode

                   Persons relationship to you

      Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 8
Filed 12/26/18                                                                      Case 18-15109                                                                                    Doc 1


     Debtor 1        David
                         First Name      Midee Name
                                                        0.
                                                             Last Name
                                                                                  Villegas                     Case number     (if knovmj___________________________


          WIthin 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
          are a beneficiary? (These are often called asset-protection devices.)

                No
          U     Yes. Fill in the details.

                                                                     Description and value of the property transferred                                           Data transfer
                                                                                                                                                                 was made



                Name of trust




        naci Ust Certain Financial Accounts, lnstniments, Safe Deposit Boxes, and Storage Units

          Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
          closed, sold, moved, or transferred?
          Include checking, savings, money market, or other financial accounts; certificates of deposit, shares in banks, credit unions,
          brokerage houses, pension funds, cooperatives, associations, and other financial Institutions.
                No
           U    Yes. Fill in the details.
                                                                         Last 4 digIts of account number   Type of account or          Date account was      Last balance before
                                                                                                           instrument                  closed, sold, moved, closing or transfer
                                                                                                                                       or transferied


                  Name of Financial institution
                                                                         xxxx-                             U Checking                                        $

                  Number Street
                                                                                                           U savings
                                                                                                           U Money market
                                                                                                           U Brokerage
                  City                        State   ZIP Code
                                                                                                           U outer__________

                                                                         XXXX—        -    -               U Checking
                  Name of Financial Institution
                                                                                                           U Savings
                  Number        Street                                                                     U Money market
                                                                                                           U Brokerage
                                                                                                           U Other_________
                  city                        State   ZIP Code

           Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
           securities, cash, or other valuables?
              No
           U Yes. Fill in the details.
                                                                         Who else had access to It?                      Describe the contents                        Do you still
                                                                                                                                                                      have it?

                                                                                                                                                                          No
                  Name of Financial institution                          Name
                                                                                                                                                                      U   Yes


                  Number Street                                          Number Street


                                                                         City      State     ZIP Code

                  City                        State ZIP Code


     Official Form 107                                   Statement of Financial Affairs for individuals Filing for Bankruptcy                     .                 page 9
Filed 12/26/18                                                                        Case 18-15109                                                                             Doc 1


     Debtor 1        David                             0.                           Villegas                         Case number (if knot,,)_____________________________
                          net Name     Midste Name              Last Name




     22. Have    you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
                No
                Yes. Fill in the details.
                                                                       Who else has or had access to It?                  Describe the contents                  Do you still
                                                                                                                              -                                  have It?


                                                                                                                                                                   No
                  Name of Storage Facility                              Name                                                                                     Oves

                  Number Street                                         Number Street


                                                                        CityState ZIP Code

                  City                       State - ZIP Code          -.


                            Identify froperty You Hold or Control for Someone El..

           Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
           or hold In trust for someone.
               No
           Ci Yes. Fill in the details.
                                                                       Where Is the property?                             Describe the property               value



                   Owner'sName

                                                                      Number Street
                   Number Street



                                                                      City                          State ZIP Code
                   City                      State ZIP Code

                            Give Details About Environmental information

       For the purpose of Part 10, the following definitions apply:
       • Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
           hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
           Including statutes or regulations controlling the cleanup of these substances, wastes, or material.
       • Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
           utilize it or used to own, operate, or utilize It, including disposal sites.
       • Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
         substance, hazardous material, pollutant, contaminant, or similar term.

       Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

           Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

                 No
           U     Yes. Fill in the details.
                                                                        Governmental unit                      Environmental law, If you know It             Date of notice




                  Name of site                                         Governmental unit


                  Number Street                                        Number Street


                                                                       City                  State ZIP Code



                 City                        State ZIP Code



      Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 10
Filed 12/26/18                                                                         Case 18-15109                                                                                           Doc 1


     Debtor 1       David                                0.                        VilIegas                             Case       number (if knows)_______________________________________
                        First Name       Midde Name           Last Name




      26. Have you notified any governmental unit of any release of hazardous material?

                No
          U     Yes. Fill in the details.
                                                                     Governmental unit                              Environmental law, if you know it                         Date of notice




                 Name of site                                       Governmental unit


                 Number Street                                      Number Street



                                                                    City                    State ZIP Code


                 City                         State    ZIP Code


          Have you been a party in any Judicial or administrative proceeding under any environmental law? Include settlements and orders.

           id   No
           U    Yes. Fill In the details.
                                                                                                                                                                               Status of the
                                                                          Court or agency                                Nature of the case
                                                                                                                                                                               case

                Case title______________________
                                                                          Couvt Name
                                                                                                                                                                               U   Pending

                                                                                                                                                                               U   On appeal

                                                                          Number Street                                                                                        U   Concluded


                Case number                                               c,                     State   ZIP Code



     •nii Give Details About Your Business or Connections to Any Busln.ss
           Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
              U A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                U   A member of a limited liability company (LLC) or limited liability partnership (LLP)
                U   A partner in a partnership
                U   An officer, director, or managing executive of a corporation
                U   An owner of at least 5 0/6 of the voting or equity securities of a corporation

           id No. None of the above applies. Go to Part 12.
           U Yes. Check all that apply above and fill In the details below for each business.
                                                                          Describe the nature of the business                                Employer Identification number
                                                                                                                                             Do not Include Social Security numBer or IT1N.
                  Business Name

                                                                                                                                             EIN:           -
                  Number Street
                                                                      -   Name of accountant or bookkeeper                                   Dates business existed


                                                                                                                                             From                To
                  City                         State ZIP Code
                                                                          Describe the nature of the business                                Employer Identification number
                                                                                                                                             Do not Include Social Security number or InN.
                  Business Name

                                                                                                                                             EIN:__-.                 ____
                  Number Street                                             -   -   -
                                                                          Name of accountant or bookkeeper                                   Dates business existed



                                                                                                                                             From                To
                  City               -         State   ZIP Code                                                                -

      Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                     page 11
Filed 12/26/18                                                                         Case 18-15109                                                                               Doc 1


     Debtor I         David                             0.                         Villegas                         Case number (if known)_____________________________________
                           First Name   Middle Name          Last Name




                                                                                                                                  Employer identification number
                                                                         Describe the nature of the business
                                                                                                                                  Do not include Social Security number or ITIN.
                    Business Name
                                                                                                                                  EIN:__— _______

                    Number Street                                                                                                 Dates business existed
                                                                         Name of accountant or bookkeeper




                                                                                                                                  From                To
                    City                     State    ZIP Code




       28.   WIthin 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? include all financial
             institutions, creditors, or other parties.

             id   No
             U    Yes. Fill in the details below.

                                                                         Date issued




                    Name                                                 MMIDD!YYYY



                    Number Street




                    City                      State   ZIP Code




                            Sign Below

              I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
              answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
              in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
              18 U.S.C. fi 152, 1341, 1519, and 3571.



                                                                                       ic
                Wnatum of &or I                                                             SIgnature of Debtor 2



                    Date________                                                            Date________

              Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

                     No
                U    Yes


                Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
                    No
                U   Yes. Name of person                                                                                     Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                                            Declaration, and Signature (Official Form 119).




     Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 12
Filed 12/26/18                                                                   Case 18-15109                                                                           Doc 1



    Debtor 1          David                           0.                     Villegas
                       Fat Name                   Midd'e Name                Last Name

    Debtor 2
    (Spouse, ifilling) FNstName                   MidWe Name                 Last Name                                                                       -




    United States Bankruptcy Court for the: Eastern District of California
    Case number                                                                                                                                U   Check if this is an
    (If known)                                                                                                                                     amended filing




      Official Form 108
      Statement of Intention for Individuals Filing Under Chapter 7                                                                                              12115

      If you are an individual filing under chapter 7, you must fill out this form if:
      • creditors have claims secured by your property, or
      • you have leased personal property and the lease has not expired.
      You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
      whichever Is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
      If two married people are filing together In a Joint case, both are equally responsible for supplying correct information.
      Both debtors must sign and date the form.
      Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
      write your name and case number (if known).

      •TT1 List Your Creditors Who Have Secured Claims

        1. For any creditors that you listed in Part I of ScheduleD: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
           information below.

                 Identify the creditor and the property that is collateral               What do you intend to do with the property that   Did you claim the property
                                                                                         secures a debt?                                   as exempt on Schedule C?

               Creditor's
                             Kinecta C.U.
                                                                                         14 Surrender the property.                        64 No
               name:
                                                                                         U Retain the property and redeem it.              U Yes
               Description of     2018 Mazda 6
               property
                                                                                         U Retain the property and enter into a
               securing debt:                                                                Reaffirmation Agreement.
                                                                                         U Retain the property and [explain]:


               Creditor's                                                                    Surrender the property.                       6d No
               name:         Klnecta C.U.
                                                                                         U Retain the property and redeem it.              U Yes
               Description of
               property
                                  2011 Ford Edge                                         U Retain the property and enter into a
               securing debt:                                                                Reaffirmation Agreement.
                                                                                         U Retain the property and [explain]:


               Creditor's                                                                U Surrender the property.                         UN0
               name:
                                                                                         U Retain the property and redeem it.              U Yes
               Description of
               property
                                                                                         U Retain the property and enter into a
               securing debt:                                                                Reaffirmation Agreement.
                                                                                         U   Retain the property and [explain]: -



               Creditor's                                                                U Surrender the property.                         UNo
               name:
                                                                                         U Retain the property and redeem it.              U Yes
               Description of
               property
                                                                                         U Retain the property and enter into a
               securing debt:                                                                Reaffirmation Agreement.
                                                                                         U   Retain the property and (explain): -



       Official Form 108                             Statement of Intention for Individuals Filing Under Chapter 7                                  page 1
Filed 12/26/18                                                              Case 18-15109                                                                   Doc 1

     Debtor I           David                            0.                 Villegas                  Case number (If known)_____________________________
                       Fst Name            Middle Name        Last Name




     •mw               List Your Unexpired Personal Property Leases

       For any unexpired personal property lease that you listed in Schedule G: Executoty Contracts and Unexpired Leases (Official Form 106G),
       fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
       ended. You may assume an unexpired personal property lease if the trustee does not assume it 11 U.S.C. § 365(p)(2).

                Describe your unexpired personal property leases                                                           Will the lease be assumed?

           Lessor's name:         Heritage Professional Management & Realty                                               U    No

           Description of leased           600 Hosking Avenue, Apt. # 49C, Bakersfield, CA. 93307
                                                                                                                          56 Yes
           property:


           Lessor's name:         Sunpower                                                                               - U   No
                                                                                                                               Yes
           Description of leased           PV System located at my parents home.
           property:


            Lessors name:                                                                                                 UNo

            Description of leased                                                                                         U Yes
            property:


            Lessors name:                                                                                                  U   No
                                                                                                                           UYes
            Description of leased
            property:



            Lessors name:                                                                                                  UNo
                                                                                                                           UYes
            Description of leased
            property:


            Lessors name:                                                                                                 U No
                                                                                                                          U Yes
            Description of leased
            property:



            Lessors name:                                                                                                      No

                                                                                                                          U Yes
            Description of leased
            property:




           0           Sign Below



          Under penalty of perjury, I declare that I have Indicated my intention about any property of my estate that secures a debt and any
          personal property that is subject to an unexpired lease.




                                                                            Signature of Debtor 2

           Date                                                             Date
                    MM! DO    I   Y'rY'Y                                           MM! DO! WYY




    Official Form 108                                    Statement of Intention for Individuals Filing Under Chapter 7                      page 2
Filed 12/26/18                                                                 Case 18-15109                                                                               Doc 1


      Debtor I              David                        0.                    Villegas
                             First Name               Middle Name              Last Name
                                                                                                             66 1. There is no presumption of abuse.
      Debtor 2
      (Spouse, if filing)    First   Name             Middle Name              Last   Name                          The calculation to determine if a presumption of
                                                                                                                    abuse applies will be made under Chapter 7
      United States Bankruptcy Court for the: Eastern District of California                                        Means Test Calculation (Official Form 122A-2).

      Case number                                                                                                   The Means Test does not apply now because of
      (If known)                                                                                                    qualified military service but it could apply later.



                                                                                                              U Check if this is an amended filing

     Official Form I 22A-1
     Chapter 7 Statement of Your Current Monthly Income                                                                                                              12115

     Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
     space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
     additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
     do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
     Abuse Under S 707(b)(2) (Official Form 122A-lSupp) with this form.

     •ni               Calculate Your Current Monthly Income

      1. What is your marital and filing status? Check one only.
            U Not married. Fill out Column A, lines 2-11.
            U Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
                 Married and your spouse is NOT filing with you. You and your spouse are:

                 lid        Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                   U Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                            under penalty of peijury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                            spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

            Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
            bankruptcy case. 11 U.S.C. § 101(I0A). For example, if you are filing on September 15, the 6-month period would be March 1 through
           August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and dMde the total by 6.
           Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
           income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                               Column A            Column B
                                                                                                               Debtor I            Debtor 2 or
                                                                                                                                   non-filing spouse

           Your gross wages, salary, tips, bonuses, overtime, and commissions
            (before all payroll deductions).                                                                   $ 3,225.66            $        0.00
           Alimony and maintenance payments. Do not include payments from a spouse if
                                                                                                                      0_00
                                                                                                               $_________                   0_00
                                                                                                                                     $_________
            Column B is filled in.
           All amounts from any source which are regularly paid for household expenses
           of you or your dependents, including child support Include regular contributions
           from an unmarried partner, members of your household, your dependents, parents,
           and roommates. Include regular contributions from a spouse only if Column B is not
           filled in. Do not include payments you listed on line 3.                                                   0_00
                                                                                                               $_________                    _
                                                                                                                                            000
                                                                                                                                     $__________

            Net income from operating a business, profession,
                                                                             Debtor I        Debtor 2
            or farm
            Gross receipts (before all deductions)                             $__ 0 . 00    $_1 00
           Ordinary and necessary operating expenses                        - $__0.00- $_0.00
            Net monthly income from a business, profession, or farm            $_0.00        $_0.00 Copy       $_0.00                $_0.00

            Net income from rental and other real propertyDebtoç
                                                                               $_ 'b_$
                                                                                             DebtoAj)
           Gross receipts (before all deductions)                                   0  V.         V._ 0
            Ordinary and necessary operating expenses                       - $__0.00 - $_0.00
            Net monthly income from rental or other real property                             $_0.00
                                                                               $_0.00                          $_0.00                $_0.00
            Interest, dividends, and royalties                                                                 $          0.00       $         0.00



     Official Form 1 22A-1                               Chapter 7 Statement of Your Current Monthly Income                                                   page 1
Filed 12/26/18                                                                                                       Case 18-15109                                                                              Doc 1


     Debtor 1              David                                            0.                                       ViIIegaE               Case number     (if
                          Fkst Name               Middle Name                     Last Name



                                                                                                                                                 Column A             Column B
                                                                                                                                                 Debtor I             Debtor 2 or
                                                                                                                                                                      non-filing spouse

          Unemployment compensation                                                                                                                                     $           0.00
          Do not enter the amount if you contend that the amount received was a benefit
          under the Social Security Act. Instead, list it here ...............................
                Foryou ............................... ...................................................       $         0.00
                Foryour spouse ...................................................................$                         0.00
          Pension or retirement income. Do not include any amount received that was a
          benefit under the Social Security Act.                                                                                                                        $           0.00
          Income from all other sources not listed above. Specify the source and amount.
          Do not include any benefits received under the Social Security Act or payments received
          as a victim of a war crime, a crime against humanity, or international or domestic
          terrorism. If necessary, list other sources on a separate page and put the total below.
             CalF resh                                                                                                                            $     106.00          $   0.00
                                                                                                                                                  $                     $_0.00
            Total amounts from separate pages, if any.                                                                                        + s_0.00                +s_0.00
      11. Calculate your total current monthly income. Add lines 2 through 10 for each
          column. Then add the total for Column A to the total for Column B.                                                                      $_3 , 331 . 66"     1_$_0 . 003 , 331 . 66
                                                                                                                                                                                               Total current
                                                                                                                                                                                               monthly Income

                          Determine Whether the Means Test Applies to You

      12. Calculate your current monthly income for the year. Follow these steps:
                      Copy your total current monthly income from line 11 ..............................                                                          Copy line 11 here4       $_3,331.66]
                      Multiply by 12 (the number of months in a year).                                                                                                                     x 12
                      The result is your annual income for this part of the form.                                                                                                   12 b.I_$   39 , 979 . 92    1
      13. Calculate the median family income that applies to you. Follow these steps:

           Fill in the state in which you live.
                                                                                                             f   CA

           Fill in the number of people in your household.                                                   1   4

           Fill in the median family income for your state and size of household . ......................................................                                        .13.      $91,349.00
           To find a list of applicable median income amounts, go online using the link specified in the separate
           instructions for this form. This list may also be available at the bankruptcy clerk's office.
      14. How do the lines compare?

           14a.d Line 1 2b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                   Go to Part 3.

           14b.       I    Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                           Go to Part 3 and fill out Form 122A-2.

                           Sign Below

                          By signing here, I declare under penalty of pequry that the information on this statement and in any attachments is true and correct.



                          nul.                of
                                               .bt *
                                                   r &
                                                                                                                                   - ic   Signatute of Debtor 2

                               Date (l.'lO m(l                                                                                            Date
                                   MM/DO /YYYY                                                                                                   MM/DD /YYYY

                               If you checked line 14a, do NOT fill out or file Form 122A-2.
                               If you checked line 14b, fill out Form 122A-2 and file it with this form.


     Official Form 1 22A-1                                                  Chapter 7 Statement of Your Current Monthly Income                                                                    page 2
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             Notice Required by 11 U.S.C. § 342(b) for
             Individuals Filing for Bankruptcy (Form 2010)


                                                                             Chapter 7: Liquidation
                 This notice is for you if:

                     You are an individual filing for bankruptcy,                      $245 filing fee
                     and                                                                $75 administrative fee
                                                                             +          $15 trustee surcharge
                     Your debts are primarily consumer debts.
                                                                                       $335 total fee
                     Consumer debts are defined in 11 U.S.C.
                     § 101(8) as "incurred by an individual                  Chapter 7 is for individuals who have financial
                     primarily for a personal, family, or                    difficulty preventing them from paying their
                     household purpose."                                     debts and who are willing to allow their non-
                                                                             exempt property to be used to pay their
                                                                             creditors. The primary purpose of filing under
                                                                             chapter 7 is to have your debts discharged. The
             The types of bankruptcy that are                                bankruptcy discharge relieves you after
             available to individuals                                        bankruptcy from having to pay many of your
                                                                             pre-bankruptcy debts. Exceptions exist for
             Individuals who meet the qualifications may file                particular debts, and liens on property may still
             under one of four different chapters of the                     be enforced after discharge. For example, a
             Bankruptcy Code:                                                creditor may have the right to foreclose a home
                                                                             mortgage or repossess an automobile.
             o Chapter 7 - Liquidation
                                                                             However, if the court finds that you have
             o Chapter 11— Reorganization
                                                                             committed certain kinds of improper conduct
                                                                             described in the Bankruptcy Code, the court
             o Chapter 12— Voluntary repayment plan
                                                                             may deny your discharge.
                            for family farmers or
                            fishermen
                                                                             You should know that even if you file
                                                                             chapter 7 and you receive a discharge, some
             o Chapter 13— Voluntary repayment plan
                                                                             debts are not discharged under the law.
                            for individuals with regular
                                                                             Therefore, you may still be responsible to pay:
                            income
                                                                             a most taxes;
             You should have an attorney review your                         a    most student loans;
             decision to file for bankruptcy and the choice of
                                                                                  domestic support and property settlement
             chapter.
                                                                                  obligations;




             Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)      page 1
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             n most fines, penalties, forfeitures, and                      your income is more than the median income
                criminal restitution obligations; and                       for your state of residence and family size,
             n certain debts that are not listed in your                    depending on the results of the Means Test, the
                 bankruptcy papers.                                         U.S. trustee, bankruptcy administrator, or
                                                                            creditors can file a motion to dismiss your case
             You may also be required to pay debts arising                  under § 707(b) of the Bankruptcy Code. If a
             from:                                                          motion is filed, the court will decide if your
                                                                            case should be dismissed. To avoid dismissal,
             n fraud or theft;                                              you may choose to proceed under another
                 fraud or defalcation while acting in breach                chapter of the Bankruptcy Code.
                 of fiduciary capacity;
                                                                            If you are an individual filing for chapter 7
             n intentional injuries that you inflicted; and                 bankruptcy, the trustee may sell your property
             n death or personal injury caused by                           to pay your debts, subject to your right to
                 operating a motor vehicle, vessel, or                      exempt the property or a portion of the
                 aircraft while intoxicated from alcohol or                 proceeds from the sale of the property. The
                 drugs.                                                     property, and the proceeds from property that
                                                                            your bankruptcy trustee sells or liquidates that
             If your debts are primarily consumer debts, the                you are entitled to, is called exempt properly.
             court can dismiss your chapter 7 case if it finds              Exemptions may enable you to keep your
             that you have enough income to repay                           home, a car, clothing, and household items or
             creditors a certain amount. You must file                      to receive some of the proceeds if the property
             Chapter 7 Statement of Your Current Monthly                    is sold.
             Income (Official Form I 22A—I) if you are an
             individual filing for bankruptcy under                          Exemptions are not automatic. To exempt
             chapter 7. This form will determine your                        property, you must list it on Schedule C: The
             current monthly income and compare whether                      Properly You Claim as Exempt (Official Form
             your income is more than the median income                      I 06C). If you do not list the property, the
             that applies in your state.                                     trustee may sell it and pay all of the proceeds
                                                                             to your creditors.
             If your income is not above the median for
             your state, you will not have to complete the
             other chapter 7 form, the Chapter 7 Means                       Chapter 11: Reorganization
             Test Calculation (Official Form I 22A-2).
                                                                                      $1,167    filing fee
             If your income is above the median for your                     +          $550 administrative fee
             state, you must file a second form —the                                  $1,717    totalfee
             Chapter 7 Means Test Calculation (Official
             Form 1 22A-2). The calculations on the form-                    Chapter 11 is often used for reorganizing a
             sometimes called the Means Test—deduct                          business, but is also available to individuals.
             from your income living expenses and                            The provisions of chapter 11 are too
             payments on certain debts to determine any                      complicated to summarize briefly.
             amount available to pay unsecured creditors. If


             Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 2
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             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of fith      f
             and what your optIons are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.
             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technIcal, and a
             mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
             and following all of the legal requirements.
             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.
             Bankruptcy fraud is a serIous crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




             Chapter 12: Repayment plan for family                            Under chapter 13, you must file with the court
                         farmers or fishermen                                 a plan to repay your creditors all or part of the
                                                                              money that you owe them, usually using your
                       $200 filing fee                                        future earnings. If the court approves your
             +          $75 administrative fee
                                                                              plan, the court will allow you to repay your
                       $275 total fee
                                                                              debts, as adjusted by the plan, within 3 years or
             Similar to chapter 13, chapter 12 permits                        5 years, depending on your income and other
             family farmers and fishermen to repay their                      factors.
             debts over a period of time using future
             earnings and to discharge some debts that are                     After you make all the payments under your
             not paid.                                                         plan, many of your debts are discharged. The
                                                                               debts that are not discharged and that you may
                                                                               still be responsible to pay include:

             Chapter 13: Repayment plan for                                    • domestic support obligations,
                         individuals with regular                              • most student loans,
                         income                                                • certain taxes,
                                                                               • debts for fraud or theft,
                      $235     filing fee
                                                                               • debts for fraud or defalcation while acting
             +         $75     administrative fee
                                                                                   in a fiduciary capacity,
                      $310     total fee
                                                                               0   most criminal fines and restitution
             Chapter 13 is for individuals who have regular                        obligations,
             income and would like to pay all or part of                       o certain debts that are not listed in your
             their debts in installments over a period of time                     bankruptcy papers,
             and to discharge some debts that are not paid.                    o certain debts for acts that caused death or
             You are eligible for chapter 13 only if your                          personal injury, and
             debts are not more than certain dollar amounts
                                                                               o    certain long-term secured debts.
             set forth in 11 U.S.C. § 109.


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                                                                            A married couple may file a bankruptcy case
                                                                            together—called ajoint case. If you file ajoint
                 Warning: File Your Forms on Time
                                                                            case and each spouse lists the same mailing
                 Section 521 (a)(1) of the Bankruptcy Code                  address on the bankruptcy petition, the
                 requires that you promptly file detailed information
                                                                            bankruptcy court generally will mail you and
                 about your creditors, assets, liabilities, income,
                 expenses and general financial condition. The
                                                                            your spouse one copy of each notice, unless
                 court may dismiss your bankruptcy case if you do           you file a statement with the court asking that
                 not file this information within the deadlines set by      each spouse receive separate copies.
                 the Bankruptcy Code, the Bankruptcy Rules, and
                 the local rules of the court.

                 For more information about the documents and
                                                                             Understand which services you
                 their deadlines, go to:                                     could receive from credit
                                                                             counseling agencies

                                                                             The law generally requires that you receive a
                                                                             credit counseling briefing from an approved
                                                                             credit counseling agency. 11 U.S.C. § 109(h).
             Bankruptcy crimes have serious
                                                                             If you are filing ajoint case, both spouses must
             consequences
                                                                             receive the briefing. With limited exceptions,
             n If you knowingly and fraudulently conceal                     you must receive it within the 180 days before
                 assets or make a false oath or statement                    you file your bankruptcy petition. This briefing
                 under penalty of perjury—either orally or                   is usually conducted by telephone or on the
                  in writing—in connection with a                            Internet.
                  bankruptcy case, you may be fined,
                  imprisoned, or both.                                       In addition, after filing a bankruptcy case, you
                                                                             generally must complete a financial
             n All information you supply in connection                      management instructional course before you
                with a bankruptcy case is subject to                         can receive a discharge. If you are filing ajoint
                examination by the Attorney General acting                   case, both spouses must complete the course.
                through the Office of the U.S. Trustee, the
                Office of the U.S. Attorney, and other                       You can obtain the list of agencies approved to
                offices and employees of the U.S.                            provide both the briefing and the instructional
                Department of Justice.                                       course from:

             Make sure the court has your
             mailing address                                                 In Alabama and North Carolina, go to:
              The bankruptcy court sends notices to the
              mailing address you list on Voluntary Petition
             for Individuals Filing for Bankruptcy (Official
              Form 101). To ensure that you receive
                                                                             If you do not have access to a computer, the
              information about your case, Bankruptcy
                                                                             clerk of the bankruptcy court may be able to
              Rule 4002 requires that you notif' the court of
                                                                             help you obtain the list.
              any changes in your address.


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